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This document describes the technical requirements for paper and electronic document productions to the U.S.
Securities and Exchange Commission (SEC). **Any questions or proposed file formats other than those
described below must be discussed with the legal and technical staff of the SEC Division of Enforcement
prior to submission.**

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General Instructions

Electronic files must be produced in their native format, i.e. the format in which they are ordinarily used and maintained during the
normal course of business. For example, an MS Excel file must be produced as an MS Excel file rather than an image of a
spreadsheet. (Note: An Adobe PDF file is not considered a native file unless the document was initially created as a PDF.)

In the event produced files require the use of proprietary software not commonly found in the workplace, the SEC will explore
other format options with the producing party.

The proposed use of file de-duplication methodologies or computer-assisted review or technology-assisted review (TAR) during
the processing of documents must be discussed with and approved by the legal and technical staff of the Division of
Enforcement (ENF). If your production will be de-duplicated it is vital that you 1) preserve any unique metadata associated with
the duplicate files, for example, custodian name and file location and, 2) make that unique metadata part of your production to
the SEC.


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General requirements for ALL document productions are:

  1.     A cover letter must be included with each production and should include the following information:
              a. Case number, case name and requesting SEC staff member name
              b. A list of each piece of media included in the production with its unique production volume number
              c. A list of custodians, identifying the Bates range for each custodian
              d. The time zone in which the emails were standardized during conversion
              e. Whether the production contains native files produced from Mac operating system environments
  2.     Data can be produced on CD, DVD, thumb drive, etc., using the media requiring the least number of deliverables and
         labeled with the following:
              a. Case number
              b. Production date
              c. Producing party
              d. Bates range (if applicable)
  3.     All submissions must be organized by custodian unless otherwise instructed.
  4.     All document family groups, i.e. email attachments, embedded files, etc., should be produced together and children files
         should follow parent files sequentially in the Bates numbering.
  5.     All load-ready collections should include only one data load file and one image pointer file.
  6.     All load-ready text must be produced as separate document-level text files.
  7.     All load-ready collections should account for custodians in the custodian field.
  8.     All load-ready collections must provide the extracted contents of any container files to ensure all relevant files are produced
         as separate records.
  9.     Audio files should be separated from data files if both are included in the production.
  10.    Only alphanumeric characters and the underscore character are permitted in file names and folder names. Special characters
         are not permitted.
  11.    All electronic productions submitted on media must be produced using industry standard self-extracting encryption
         software.
  12.    Electronic productions may be submitted via Secure File Transfer. The SEC cannot accept productions made using file
         sharing sites such as Google Drive, Microsoft Office 365 or Dropbox.
  13.    Productions containing BSA or SAR material must be delivered on encrypted physical media. The SEC cannot accept
         electronic transmission of BSA or SAR material. Any BSA or SAR material produced should be segregated and
         appropriately marked as BSA or SAR material, or should be produced separately from other case related material.
  14.    Passwords for electronic documents, files, compressed archives and encrypted media must be provided separately either via
         email or in a cover letter apart from the media.
  15.    All electronic productions should be produced free of computer viruses.
  16.    Before producing forensically collected images, parties should reach out to the requesting SEC staff member in order to
         discuss appropriate handling.
  17.    Before producing unique data sets (large sets of relational data, website reconstruction, chat room data, etc.), parties should
         reach out to the requesting SEC staff member in order to discuss an appropriate production format.
  18.    Additional technical descriptions can be found in the addendum to this document.

        *Please note that productions sent to the SEC via United States Postal Service are subject to Mail Irradiation, and as
        a result electronic productions may be damaged.*




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Delivery Formats

I.   Imaged Productions
     The SEC prefers that all scanned paper and electronic file collections be produced in a structured format including industry
     standard load files, Bates numbered image files, native files and searchable document-level text files.

     1.   Images
             a.     Black and white images must be 300 DPI Group IV single-page TIFF files
             b.     Color images must be produced in JPEG format
             c.     File names cannot contain embedded spaces or special characters (including the comma)
             d.     Folder names cannot contain embedded spaces or special characters (including the comma)
             e.     All image files must have a unique file name, i.e. Bates number
             f.     Images must be endorsed with sequential Bates numbers in the lower right corner of each image
             g.     The number of image files per folder should not exceed 2,000 files
             h.     Excel spreadsheets should have a placeholder image named by the Bates number of the file
             i.     AUTOCAD/photograph files should be produced as a single page JPEG file

     2.    Image Cross-Reference File
           The image cross-reference file (.LOG or .OPT) links the images to the database records. It should be a comma-delimited
           file consisting of seven fields per line with a line in the cross-reference file for every image in the database with the
           following format:
                  ImageID,VolumeLabel,ImageFilePath,DocumentBreak,FolderBreak,BoxBreak,PageCount

     3. Data File
        The data file (.DAT) contains all of the fielded information that will be loaded into the database.

          a.   The first line of the .DAT file must be a header row identifying the field names
          b.   The .DAT file must use the following Concordance® default delimiters:
                   Comma ASCII character (020)
                   Quote þ ASCII character (254)
          c.   If the .DAT file is produced in Unicode format it must contain the byte order marker
          d.   Date fields should be provided in the format: mm/dd/yyyy
          e.   Date and time fields must be two separate fields
          f.   The time zone must be included in all time fields
          g.   If the production includes imaged emails and attachments, the attachment fields must be included to preserve the
               parent/child relationship between an email and its attachments
          h.   An OCRPATH field must be included to provide the file path and name of the extracted text file on the produced
               storage media. The text file must be named after the FIRSTBATES. Do not include the text in the .DAT file.
          i.   For productions with native files, a LINK field must be included to provide the file path and name of the native file
               on the produced storage media. The native file must be named after the FIRSTBATES.
          h.   BEGATTACH and ENDATTACH fields must be two separate fields
          i.   A complete list of metadata fields is available in Addendum A to this document

     4. Text
        Text must be produced as separate document-level text files, not as fields within the .DAT file. The text files must be named
        per the FIRSTBATES/Image Key and the full path to the text file (OCRPATH) should be included in the .DAT file. Text files
        may be in either ANSI or Unicode format, however, ALL text files must be in the same format within the same production.
        Note that productions containing text with foreign characters must produce text files in Unicode format to preserve the foreign
        characters. Text files must be in a separate folder, and the number of text files per folder should not exceed 2,000 files.
        There should be no special characters (including commas) in the folder names. For redacted documents, provide the full
        text for the redacted version.

     5.    Linked Native Files
           Copies of original email and native file documents/attachments must be included for all electronic productions.
           a. Native file documents must be named per the FIRSTBATES number
           b. The full path of the native file must be provided in the .DAT file for the LINK field
           c. The number of native files per folder should not exceed 2,000 files




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 II.   Native File Production without Load Files
       With prior approval, native files may be produced without load files. The native files must be produced as they are maintained
       in the normal course of business and organized by custodian-named file folders. When approved, Outlook (.PST) and Lotus
       Notes (.NSF) email files may be produced in native file format. A separate folder should be provided for each custodian.

III.   Adobe PDF File Production
       With prior approval, Adobe PDF files may be produced in native file format.
           1. All PDFs must be unitized at the document level, i.e., each PDF must represent a discrete document.
           2. PDF files should be produced in separate folders named by the custodian. The folders should not contain any
               special characters (including commas).
           3. All PDF files must contain embedded text that includes all discernible words within the document, not selected text
               or image only. This requires all layers of the PDF to be flattened first.
           4. If PDF files are Bates endorsed, the PDF files must be named by the Bates range.

 IV. Audio Files
     Audio files from telephone recording systems must be produced in a format that is playable using Microsoft Windows
     Media Player™. Additionally, the call information (metadata) related to each audio recording MUST be provided. The
     metadata file must be produced in a delimited text format. Field names must be included in the first row of the text file.
     The metadata must include, at a minimum, the following fields:
             1)   Caller Name:          Caller’s name or account/identification number
             2)   Originating Number:   Caller’s phone number
             3)   Called Party Name:    Called party’s name
             4)   Terminating Number:   Called party’s phone number
             5)   Date:                 Date of call
             6)   Time:                 Time of call
             7)   Filename:             Filename of audio file

 V.     Video Files
        Video files must be produced in a format that is playable using Microsoft Windows Media Player™.

 VI.    Electronic Trade and Bank Records
        When producing electronic trade records, bank records, or financial statements, provide the files in one of the following
        formats:

        1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
             separate document must be provided that details all such codes. If details of the field structure do not fit in the header,
             a separate document must be provided that includes such details.

        2.   Delimited text file with header information detailing the field structure. The preferred delimiter is a vertical bar “|”. If
             any special codes exist in the dataset, a separate document must be provided that details all such codes. If details of the
             field structure do not fit in the header, a separate document must be provided that includes such details.

  VII. Electronic Phone Records
       When producing electronic phone records, provide the files in the following format:

        1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
             separate document must be provided that details all such codes. If details of the field structure do not fit in the header,
             a separate document must be provided that includes such details. Data must be formatted in its native format (i.e.
             dates in a date format, numbers in an appropriate numerical format, and numbers with leading zeroes as text).
                 a. The metadata that must be included is outlined in Addendum B of this document. Each field of data must be
                       loaded into a separate column. For example, Date and Start_Time must be produced in separate columns and
                       not combined into a single column containing both pieces of information. Any fields of data that are provided
                       in addition to those listed in Addendum B must also be loaded into separate columns.




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VIII. Audit Workpapers
      The SEC prefers for workpapers to be produced in two formats: (1) With Bates numbers in accordance with the SEC Data
      Delivery Standards; and (2) in native format or if proprietary software was used, on a standalone laptop with the
      appropriate software loaded so that the workpapers may be reviewed as they would have been maintained in the ordinary
      course of business. When possible, the laptop should be configured to enable a Virtual Machine (VM) environment.

IX. Mobile Device Data
     Before producing mobile device data (including but not limited to text messages) parties should reach out to the
     requesting SEC staff member in order to discuss the appropriate production format.




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                                                     ADDENDUM A


The metadata of electronic document collections should be extracted and provided in a .DAT file using the field definition and
formatting described below:


         Field Name            Sample Data                    Description
         FIRSTBATES            EDC0000001                     First Bates number of native file document/email
         LASTBATES             EDC0000001                     Last Bates number of native file document/email
                                                              **The LASTBATES field should be populated
                                                                 for single page documents/emails.
         ATTACHRANGE           EDC0000001 - EDC0000015        Bates number of the first page of the parent
                                                              document to the Bates number of the last page of the
                                                              last attachment “child” document
         BEGATTACH             EDC0000001                     First Bates number of attachment range
         ENDATTACH             EDC0000015                     Last Bates number of attachment range
         PARENT_BATES          EDC0000001                     First Bates number of parent document/Email
                                                              **This PARENT_BATES field should be populated
                                                                 in each record representing an attachment “child”
                                                                 document
         CHILD_BATES           EDC0000002; EDC0000014         First Bates number of “child” attachment(s); can be
                                                              more than one Bates number listed depending on the
                                                              number of attachments
                                                              **The CHILD_BATES field should be populated in
                                                                 each record representing a “parent” document
         CUSTODIAN             Smith, John                    Email: Mailbox where the email resided
                                                              Native: Name of the individual or department from
                                                              whose files the document originated
         FROM                  John Smith                     Email: Sender
                                                              Native: Author(s) of document
                                                              **semi-colon should be used to separate multiple
                                                                entries
         TO                    Coffman, Janice; LeeW          Recipient(s)
                               [mailto:LeeW@MSN.com]          **semi-colon should be used to separate multiple
                                                                entries
         CC                    Frank Thompson [mailto:        Carbon copy recipient(s)
                               frank_Thompson@cdt.com]        **semi-colon should be used to separate multiple
                                                                entries
         BCC                   John Cain                      Blind carbon copy recipient(s)
                                                              **semi-colon should be used to separate multiple
                                                                entries
         SUBJECT               Board Meeting Minutes          Email: Subject line of the email
                                                              Native: Title of document (if available)
         FILE_NAME             BoardMeetingMinutes.docx       Native: Name of the original native file, including
                                                              extension
         DATE_SENT             10/12/2010                     Email: Date the email was sent
                                                              Native: (empty)
         TIME_SENT/TIME 07:05 PM GMT                          Email: Time the email was sent/ Time zone in which
         _ZONE                                                the emails were standardized during conversion.
                                                              Native: (empty)
                                                              **This data must be a separate field and cannot be
                                                                combined with the DATE_SENT field
         TIME_ZONE             GMT                            The time zone in which the emails were standardized
                                                              during conversion.
                                                              Email: Time zone
                                                              Native: (empty)

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LINK              D:\001\ EDC0000001 msg      Hyperlink to the email or native file document
                                              **The linked file must be named per the
                                                 FIRSTBATES number
MIME_TYPE         application/msword          The content type of an email or native file document
                                              as identified/extracted from the header
FILE_EXTEN        MSG                         The file type extension representing the email or
                                              native file document; will vary depending on the
                                              format
AUTHOR            John Smith                  Email: (empty)
                                              Native: Author of the document
LAST_AUTHOR       Jane Doe                    Email: (empty)
                                              Native: Last Author of the document
DATE_CREATED      10/10/2010                  Email: (empty)
                                              Native: Date the document was created
TIME_CREATED/T 10:25 AM GMT                   Email: (empty)
IME_ZONE                                      Native: Time the document was created including time
                                              zone
                                              **This data must be a separate field and cannot be
DATE_MOD          10/12/2010                  Email: (empty)
                                              Native: Date the document was last modified
TIME_MOD/TIME_ 07:00 PM GMT                   Email: (empty)
ZONE                                          Native: Time the document was last modified
                                              including the time zone
                                              **This data must be a separate field and cannot be
DATE_ACCESSD      10/12/2010                  Email: (empty)
                                              Native: Date the document was last accessed
TIME_ACCESSD/T 07:00 PM GMT                   Email: (empty)
IME_ZONE                                      Native: Time the document was last accessed
                                              including the time zone
                                              **This data must be a separate field and cannot be
PRINTED_DATE      10/12/2010                  Email: (empty)
                                              Native: Date the document was last printed
FILE_SIZE         5,952                       Size of native file document/email in KB
PGCOUNT           1                           Number of pages in native file document/email
PATH              J:\Shared\SmithJ\October    Email: (empty)
                  Agenda.doc                  Native: Path where native file document was stored
                                              including original file name.
INTFILEPATH       Personal Folders\Deleted    Email: original location of email including original
                  Items\Board Meeting         file name.
                  Minutes.msg                 Native: (empty)
INTMSGID          <000805c2c71b$75977050$cb   Email: Unique Message ID
                  8306d1@MSN>                 Native: (empty)




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         HEADER               Return-Path:                     Email: The email header information
                              <example_from@dc.edu>            Native: (empty)
                              X-SpamCatcher-Score:1[X]
                              Received:from[136.167.40.119]
                              (HELO dc.edu)
                              by fe3.dc.edu (CommuniGate
                              Pro SMTP4.1.8)
                              with ESMTP-TLS id 61258719
                              for example_to@mail.dc.edu;
                              Mon, 23 Aug 2004 11:40:10 -
                              0400
                              Message-ID:
                              <4129F3CA.2020509@dc.edu>
                              Date: Mon, 23 Aug 2005
                              11:40:36 -400
                              From:        Taylor        Evans
                              <example_from@dc.edu>
                              User-Agent:Mozilla/5.0
                              (Windows;U; Windows NT 5.1;
                              en-US;rv:1.0.1)
                              Gecko/20020823 Netscape/7.0
                              X-Accept-Language:en-us,en
                              MIME-Version:1.0
                              To:           Jon          Smith
                              <example_to@mail.dc.edu>
                              Subject:Business Development
                              Meeting
                              Content-Type:
                              text/plain;charset=us-ascii;
                              format=flowed
                              Content-Transfer-Encoding:7bit
         MD5HASH              d131dd02c5e6eec4693d9a069       MD5 Hash value of the document.
                              8aff95c
                              2fcab58712467eab4004583eb
                              8fb7f89
         OCRPATH              TEXT/001/EDC0000001.txt         Path to extracted text of the native file




Sample Image Cross-Reference File:
           IMG0000001,,E:\001\IMG0000001.TIF,Y,,,
           IMG0000002,,E:\001\IMG0000002.TIF,,,,
           IMG0000003,,E:\001\IMG0000003.TIF,,,,
           IMG0000004,,E:\001\IMG0000004.TIF,Y,,,
           IMG0000005,,E:\001\IMG0000005.TIF,Y,,,
           IMG0000006,,E:\001\IMG0000006.TIF,,,,




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                                                         ADDENDUM B

For Electronic Phone Records, include the following fields in separate columns:

For Calls:

    1)    Account Number
    2)    Connection Date – Date the call was received or made
    3)    Connection Time – Time call was received or made
    4)    Seizure Time – Time it took for the call to be placed in seconds
    5)    Originating Number – Phone that placed the call
    6)    Terminating Number – Phone that received the call
    7)    Elapsed Time – The length of time the call lasted, preferably in seconds
    8)    End Time – The time the call ended
    9)    Number Dialed – Actual number dialed
    10)   IMEI Originating – Unique id to phone used to make call
    11)   IMEI Terminating– Unique id to phone used to receive call
    12)   IMSI Originating – Unique id to phone used to make call
    13)   IMSI Terminating- Unique id to phone used to receive call
    14)   Call Codes – Identify call direction or other routing information
    15)   Time Zone – Time Zone in which the call was received or placed, if applicable


For Text messages:

    1)    Account Number
    2)    Connection Date – Date the text was received or made
    3)    Connection Time – Time text was received or made
    4)    Originating Number – Who placed the text
    5)    Terminating Number – Who received the text
    6)    IMEI Originating – Unique id to phone used to make text
    7)    IMEI Terminating– Unique id to phone used to receive text
    8)    IMSI Originating - Unique id to phone used to make text
    9)    IMSI Terminating- Unique id to phone used to receive text
    10)   Text Code – Identify text direction, or other text routing information
    11)   Text Type Code – Type of text message (sent SMS, MMS, or other)
    12)   Time Zone – Time Zone in which the call was received or placed, if applicable


For Mobile Data Usage:

    1)    Account Number
    2)    Connection Date – Date the data was received or made
    3)    Connection Time – Time data was received or made
    4)    Originating number – Number that used data
    5)    IMEI Originating – Unique id of phone that used data
    6)    IMSI Originating - Unique id of phone that used data
    7)    Data or Data codes – Identify data direction, or other data routing information
    8)    Time Zone – Time Zone in which the call was received or placed, if applicable




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                     Supplemental Information for Persons Requested to Supply
                     Information Voluntarily or Directed to Supply Information
                               Pursuant to a Commission Subpoena
A. False Statements and Documents
Section 1001 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
upon:
         [W]hoever, in any matter within the jurisdiction of the executive, legislative, or judicial branch of the
         Government of the United States, knowingly and willfully--
             (1) falsifies, conceals, or covers up by any trick, scheme, or device a material fact;
             (2) makes any materially false, fictitious, or fraudulent statement or representation; or
             (3) makes or uses any false writing or document knowing the same to contain any materially false,
             fictitious, or fraudulent statement or entry.

Section 1519 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
upon:
         Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in any
         record, document, or tangible object with the intent to impede, obstruct, or influence the investigation or
         proper administration of any matter within the jurisdiction of any department or agency of the United States
         . . ., or in relation to or contemplation of any such matter.
B. Testimony
If your testimony is taken, you should be aware of the following:
1.   Record. Your testimony will be transcribed by a reporter. If you desire to go off the record, please indicate this to
     the Commission employee taking your testimony, who will determine whether to grant your request. The reporter
     will not go off the record at your, or your counsel’s, direction.
2.   Counsel. You have the right to be accompanied, represented and advised by counsel of your choice. Your
     counsel may advise you before, during and after your testimony; question you briefly at the conclusion of your
     testimony to clarify any of the answers you give during testimony; and make summary notes during your
     testimony solely for your use. If you are accompanied by counsel, you may consult privately.
If you are not accompanied by counsel, please advise the Commission employee taking your testimony if, during the
testimony, you desire to be accompanied, represented and advised by counsel. Your testimony will be adjourned
once to afford you the opportunity to arrange to be so accompanied, represented or advised.
You may be represented by counsel who also represents other persons involved in the Commission’s investigation.
This multiple representation, however, presents a potential conflict of interest if one client’s interests are or may be
adverse to another’s. If you are represented by counsel who also represents other persons involved in the
investigation, the Commission will assume that you and counsel have discussed and resolved all issues concerning
possible conflicts of interest. The choice of counsel, and the responsibility for that choice, is yours.
3.   Transcript Availability. Rule 6 of the Commission’s Rules Relating to Investigations, 17 CFR 203.6, states:
     A person who has submitted documentary evidence or testimony in a formal investigative proceeding
     shall be entitled, upon written request, to procure a copy of his documentary evidence or a transcript of
     his testimony on payment of the appropriate fees: Provided, however, That in a nonpublic formal
     investigative proceeding the Commission may for good cause deny such request. In any event, any
     witness, upon proper identification, shall have the right to inspect the official transcript of the witness’
     own testimony.
If you wish to purchase a copy of the transcript of your testimony, the reporter will provide you with a copy of the
appropriate form. Persons requested to supply information voluntarily will be allowed the rights provided by this rule.
4. Perjury. Section 1621 of Title 18 of the United States Code provides that fines and terms of imprisonment may
be imposed upon:
         Whoever--
              (1) having taken an oath before a competent tribunal, officer, or person, in any case in which a law of
              the United States authorizes an oath to be administered, that he will testify, declare, depose, or certify

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             truly, or that any written testimony, declaration, deposition, or certificate by him subscribed, is true,
             willfully and contrary to such oath states or subscribes any material matter which he does not believe to
             be true; or
             (2) in any declaration, certificate, verification, or statement under penalty of perjury as permitted under
             section 1746 of title 28, United States Code, willfully subscribes as true any material matter which he
             does not believe to be true.
5. Fifth Amendment and Voluntary Testimony. Information you give may be used against you in any federal, state,
local or foreign administrative, civil or criminal proceeding brought by the Commission or any other agency.
You may refuse, in accordance with the rights guaranteed to you by the Fifth Amendment to the Constitution of the
United States, to give any information that may tend to incriminate you.
If your testimony is not pursuant to subpoena, your appearance to testify is voluntary, you need not answer any
question, and you may leave whenever you wish. Your cooperation is, however, appreciated.
6. Formal Order Availability. If the Commission has issued a formal order of investigation, it will be shown to you
during your testimony, at your request. If you desire a copy of the formal order, please make your request in writing.
C. Submissions and Settlements
Rule 5(c) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(c), states:
         Persons who become involved in . . . investigations may, on their own initiative, submit a written
         statement to the Commission setting forth their interests and position in regard to the subject matter
         of the investigation. Upon request, the staff, in its discretion, may advise such persons of the
         general nature of the investigation, including the indicated violations as they pertain to them, and
         the amount of time that may be available for preparing and submitting a statement prior to the
         presentation of a staff recommendation to the Commission for the commencement of an
         administrative or injunction proceeding. Submissions by interested persons should be forwarded to
         the appropriate Division Director or Regional Director with a copy to the staff members conducting
         the investigation and should be clearly referenced to the specific investigation to which they relate.
         In the event a recommendation for the commencement of an enforcement proceeding is presented
         by the staff, any submissions by interested persons will be forwarded to the Commission in
         conjunction with the staff memorandum.
The staff of the Commission routinely seeks to introduce submissions made pursuant to Rule 5(c) as evidence in
Commission enforcement proceedings, when the staff deems appropriate.
Rule 5(f) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(f), states:
         In the course of the Commission’s investigations, civil lawsuits, and administrative proceedings, the
         staff, with appropriate authorization, may discuss with persons involved the disposition of such
         matters by consent, by settlement, or in some other manner. It is the policy of the Commission,
         however, that the disposition of any such matter may not, expressly or impliedly, extend to any
         criminal charges that have been, or may be, brought against any such person or any
         recommendation with respect thereto. Accordingly, any person involved in an enforcement matter
         before the Commission who consents, or agrees to consent, to any judgment or order does so
         solely for the purpose of resolving the claims against him in that investigative, civil, or
         administrative matter and not for the purpose of resolving any criminal charges that have been, or
         might be, brought against him. This policy reflects the fact that neither the Commission nor its staff
         has the authority or responsibility for instituting, conducting, settling, or otherwise disposing of
         criminal proceedings. That authority and responsibility are vested in the Attorney General and
         representatives of the Department of Justice.
D. Freedom of Information Act
The Freedom of Information Act, 5 U.S.C. 552 (the “FOIA”), generally provides for disclosure of information to the
public. Rule 83 of the Commission’s Rules on Information and Requests, 17 CFR 200.83, provides a procedure by
which a person can make a written request that information submitted to the Commission not be disclosed under the
FOIA. That rule states that no determination as to the validity of such a request will be made until a request for
disclosure of the information under the FOIA is received. Accordingly, no response to a request that information not
be disclosed under the FOIA is necessary or will be given until a request for disclosure under the FOIA is received. If
you desire an acknowledgment of receipt of your written request that information not be disclosed under the FOIA,
please provide a duplicate request, together with a stamped, self-addressed envelope.




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E. Authority for Solicitation of Information
Persons Directed to Supply Information Pursuant to Subpoena. The authority for requiring production of information is
set forth in the subpoena. Disclosure of the information to the Commission is mandatory, subject to the valid assertion
of any legal right or privilege you might have.
Persons Requested to Supply Information Voluntarily. One or more of the following provisions authorizes the
Commission to solicit the information requested: Sections 19 and/or 20 of the Securities Act of 1933; Section 21 of
the Securities Exchange Act of 1934; Section 321 of the Trust Indenture Act of 1939; Section 42 of the Investment
Company Act of 1940; Section 209 of the Investment Advisers Act of 1940; and 17 CFR 202.5. Disclosure of the
requested information to the Commission is voluntary on your part.
F. Effect of Not Supplying Information
Persons Directed to Supply Information Pursuant to Subpoena. If you fail to comply with the subpoena, the
Commission may seek a court order requiring you to do so. If such an order is obtained and you thereafter fail to
supply the information, you may be subject to civil and/or criminal sanctions for contempt of court. In addition, Section
21(c) of the Securities Exchange Act of 1934, Section 42(c) of the Investment Company Act of 1940, and Section
209(c) of the Investment Advisers Act of 1940 provide that fines and terms of imprisonment may be imposed upon
any person who shall, without just cause, fail or refuse to attend and testify or to answer any lawful inquiry, or to
produce books, papers, correspondence, memoranda, and other records in compliance with the subpoena.
Persons Requested to Supply Information Voluntarily. There are no direct sanctions and thus no direct effects for
failing to provide all or any part of the requested information.
G. Principal Uses of Information
The Commission’s principal purpose in soliciting the information is to gather facts in order to determine whether any
person has violated, is violating, or is about to violate any provision of the federal securities laws or rules for which
the Commission has enforcement authority, such as rules of securities exchanges and the rules of the Municipal
Securities Rulemaking Board. Facts developed may, however, constitute violations of other laws or rules. Information
provided may be used in Commission and other agency enforcement proceedings. Unless the Commission or its staff
explicitly agrees to the contrary in writing, you should not assume that the Commission or its staff acquiesces in,
accedes to, or concurs or agrees with, any position, condition, request, reservation of right, understanding, or any
other statement that purports, or may be deemed, to be or to reflect a limitation upon the Commission’s receipt, use,
disposition, transfer, or retention, in accordance with applicable law, of information provided.
H. Routine Uses of Information
The Commission often makes its files available to other governmental agencies, particularly United States Attorneys
and state prosecutors. There is a likelihood that information supplied by you will be made available to such agencies
where appropriate. Whether or not the Commission makes its files available to other governmental agencies is, in
general, a confidential matter between the Commission and such other governmental agencies.
Set forth below is a list of the routine uses which may be made of the information furnished.
1. To appropriate agencies, entities, and persons when (a) it is suspected or confirmed that the security or
confidentiality of information in the system of records has been compromised; (b) the SEC has determined that, as a
result of the suspected or confirmed compromise, there is a risk of harm to economic or property interests, identity
theft or fraud, or harm to the security or integrity of this system or other systems or programs (whether maintained by
the SEC or another agency or entity) that rely upon the compromised information; and (c) the disclosure made to
such agencies, entities, and persons is reasonably necessary to assist in connection with the SEC’s efforts to
respond to the suspected or confirmed compromise and prevent, minimize, or remedy such harm.
2. To other federal, state, local, or foreign law enforcement agencies; securities self-regulatory organizations; and
foreign financial regulatory authorities to assist in or coordinate regulatory or law enforcement activities with the SEC.
3. To national securities exchanges and national securities associations that are registered with the SEC, the
Municipal Securities Rulemaking Board; the Securities Investor Protection Corporation; the Public Company
Accounting Oversight Board; the federal banking authorities, including, but not limited to, the Board of Governors of
the Federal Reserve System, the Comptroller of the Currency, and the Federal Deposit Insurance Corporation; state
securities regulatory agencies or organizations; or regulatory authorities of a foreign government in connection with
their regulatory or enforcement responsibilities.
4. By SEC personnel for purposes of investigating possible violations of, or to conduct investigations authorized by,
the federal securities laws.
5. In any proceeding where the federal securities laws are in issue or in which the Commission, or past or present
members of its staff, is a party or otherwise involved in an official capacity.




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6. In connection with proceedings by the Commission pursuant to Rule 102(e) of its Rules of Practice, 17 CFR
201.102(e).
7. To a bar association, state accountancy board, or other federal, state, local, or foreign licensing or oversight
authority; or professional association or self-regulatory authority to the extent that it performs similar functions
(including the Public Company Accounting Oversight Board) for investigations or possible disciplinary action.
8. To a federal, state, local, tribal, foreign, or international agency, if necessary to obtain information relevant to the
SEC’s decision concerning the hiring or retention of an employee; the issuance of a security clearance; the letting of
a contract; or the issuance of a license, grant, or other benefit.
9. To a federal, state, local, tribal, foreign, or international agency in response to its request for information
concerning the hiring or retention of an employee; the issuance of a security clearance; the reporting of an
investigation of an employee; the letting of a contract; or the issuance of a license, grant, or other benefit by the
requesting agency, to the extent that the information is relevant and necessary to the requesting agency's decision on
the matter.
10. To produce summary descriptive statistics and analytical studies, as a data source for management information,
in support of the function for which the records are collected and maintained or for related personnel management
functions or manpower studies; may also be used to respond to general requests for statistical information (without
personal identification of individuals) under the Freedom of Information Act.
11. To any trustee, receiver, master, special counsel, or other individual or entity that is appointed by a court of
competent jurisdiction, or as a result of an agreement between the parties in connection with litigation or
administrative proceedings involving allegations of violations of the federal securities laws (as defined in section
3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)) or pursuant to the Commission’s Rules of
Practice, 17 CFR 201.100 – 900 or the Commission’s Rules of Fair Fund and Disgorgement Plans, 17 CFR
201.1100-1106, or otherwise, where such trustee, receiver, master, special counsel, or other individual or entity is
specifically designated to perform particular functions with respect to, or as a result of, the pending action or
proceeding or in connection with the administration and enforcement by the Commission of the federal securities laws
or the Commission’s Rules of Practice or the Rules of Fair Fund and Disgorgement Plans.
12. To any persons during the course of any inquiry, examination, or investigation conducted by the SEC’s staff, or in
connection with civil litigation, if the staff has reason to believe that the person to whom the record is disclosed may
have further information about the matters related therein, and those matters appeared to be relevant at the time to
the subject matter of the inquiry.
13. To interns, grantees, experts, contractors, and others who have been engaged by the Commission to assist in
the performance of a service related to this system of records and who need access to the records for the purpose of
assisting the Commission in the efficient administration of its programs, including by performing clerical,
stenographic, or data analysis functions, or by reproduction of records by electronic or other means. Recipients of
these records shall be required to comply with the requirements of the Privacy Act of 1974, as amended, 5 U.S.C.
552a.
14. In reports published by the Commission pursuant to authority granted in the federal securities laws (as such term
is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), which authority shall
include, but not be limited to, section 21(a) of the Securities Exchange Act of 1934, 15 U.S.C. 78u(a)).
15. To members of advisory committees that are created by the Commission or by Congress to render advice and
recommendations to the Commission or to Congress, to be used solely in connection with their official designated
functions.
16. To any person who is or has agreed to be subject to the Commission’s Rules of Conduct, 17 CFR 200.735-1 to
200.735-18, and who assists in the investigation by the Commission of possible violations of the federal securities
laws (as such term is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), in the
preparation or conduct of enforcement actions brought by the Commission for such violations, or otherwise in
connection with the Commission’s enforcement or regulatory functions under the federal securities laws.
17. To a Congressional office from the record of an individual in response to an inquiry from the Congressional office
made at the request of that individual.
18. To members of Congress, the press, and the public in response to inquiries relating to particular Registrants and
their activities, and other matters under the Commission’s jurisdiction.
19. To prepare and publish information relating to violations of the federal securities laws as provided in 15 U.S.C.
78c(a)(47)), as amended.
20. To respond to subpoenas in any litigation or other proceeding.
21. To a trustee in bankruptcy.



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22. To any governmental agency, governmental or private collection agent, consumer reporting agency or
commercial reporting agency, governmental or private employer of a debtor, or any other person, for collection,
including collection by administrative offset, federal salary offset, tax refund offset, or administrative wage
garnishment, of amounts owed as a result of Commission civil or administrative proceedings.

                                                     *****
Small Business Owners: The SEC always welcomes comments on how it can better assist small businesses. If you
would like more information, or have questions or comments about federal securities regulations as they affect small
businesses, please contact the Office of Small Business Policy, in the SEC’s Division of Corporation Finance, at 202-
551-3460. If you would prefer to comment to someone outside of the SEC, you can contact the Small Business
Regulatory Enforcement Ombudsman at http://www.sba.gov/ombudsman or toll free at 888-REG-FAIR. The
Ombudsman’s office receives comments from small businesses and annually evaluates federal agency enforcement
activities for their responsiveness to the special needs of small business.




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[FOR DOMESTIC U.S. RECORDS]

               DECLARATION OF [Insert Name] CERTIFYING RECORDS
                OF REGULARLY CONDUCTED BUSINESS ACTIVITY

I, the undersigned, [insert name], pursuant to 28 U.S.C. § 1746, declare that:

   1. I am employed by [insert name of company] as [insert position] and by reason of my
      position am authorized and qualified to make this declaration. [if possible supply
      additional information as to how person is qualified to make declaration, e.g., I am
      custodian of records, I am familiar with the company’s recordkeeping practices or
      systems, etc.]

   2. I further certify that the documents [attached hereto or submitted herewith] and stamped
      [insert bates range] are true copies of records that were:

       (a) made at or near the time of the occurrence of the matters set forth therein, by, or from
       information transmitted by, a person with knowledge of those matters;

       (b) kept in the course of regularly conducted business activity; and

       (c) made by the regularly conducted business activity as a regular practice.

I declare under penalty of perjury that the foregoing is true and correct. Executed on
[date].



                                       ____________________________
                                            [Name]
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                                                                       U.S. Securities and Exchange Commission

                                                                                            Data Delivery Standards


This document describes the technical requirements for paper and electronic document productions to the U.S.
Securities and Exchange Commission (SEC). **Any questions or proposed file formats other than those
described below must be discussed with the legal and technical staff of the SEC Division of Enforcement
prior to submission.**

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General Instructions

Electronic files must be produced in their native format, i.e. the format in which they are ordinarily used and maintained during the
normal course of business. For example, an MS Excel file must be produced as an MS Excel file rather than an image of a
spreadsheet. (Note: An Adobe PDF file is not considered a native file unless the document was initially created as a PDF.)

In the event produced files require the use of proprietary software not commonly found in the workplace, the SEC will explore
other format options with the producing party.

The proposed use of file de-duplication methodologies or computer-assisted review or technology-assisted review (TAR) during
the processing of documents must be discussed with and approved by the legal and technical staff of the Division of
Enforcement (ENF). If your production will be de-duplicated it is vital that you 1) preserve any unique metadata associated with
the duplicate files, for example, custodian name and file location and, 2) make that unique metadata part of your production to
the SEC.


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General requirements for ALL document productions are:

  1.     A cover letter must be included with each production and should include the following information:
              a. Case number, case name and requesting SEC staff member name
              b. A list of each piece of media included in the production with its unique production volume number
              c. A list of custodians, identifying the Bates range for each custodian
              d. The time zone in which the emails were standardized during conversion
              e. Whether the production contains native files produced from Mac operating system environments
  2.     Data can be produced on CD, DVD, thumb drive, etc., using the media requiring the least number of deliverables and
         labeled with the following:
              a. Case number
              b. Production date
              c. Producing party
              d. Bates range (if applicable)
  3.     All submissions must be organized by custodian unless otherwise instructed.
  4.     All document family groups, i.e. email attachments, embedded files, etc., should be produced together and children files
         should follow parent files sequentially in the Bates numbering.
  5.     All load-ready collections should include only one data load file and one image pointer file.
  6.     All load-ready text must be produced as separate document-level text files.
  7.     All load-ready collections should account for custodians in the custodian field.
  8.     All load-ready collections must provide the extracted contents of any container files to ensure all relevant files are produced
         as separate records.
  9.     Audio files should be separated from data files if both are included in the production.
  10.    Only alphanumeric characters and the underscore character are permitted in file names and folder names. Special characters
         are not permitted.
  11.    All electronic productions submitted on media must be produced using industry standard self-extracting encryption
         software.
  12.    Electronic productions may be submitted via Secure File Transfer. The SEC cannot accept productions made using file
         sharing sites such as Google Drive, Microsoft Office 365 or Dropbox.
  13.    Productions containing BSA or SAR material must be delivered on encrypted physical media. The SEC cannot accept
         electronic transmission of BSA or SAR material. Any BSA or SAR material produced should be segregated and
         appropriately marked as BSA or SAR material, or should be produced separately from other case related material.
  14.    Passwords for electronic documents, files, compressed archives and encrypted media must be provided separately either via
         email or in a cover letter apart from the media.
  15.    All electronic productions should be produced free of computer viruses.
  16.    Before producing forensically collected images, parties should reach out to the requesting SEC staff member in order to
         discuss appropriate handling.
  17.    Before producing unique data sets (large sets of relational data, website reconstruction, chat room data, etc.), parties should
         reach out to the requesting SEC staff member in order to discuss an appropriate production format.
  18.    Additional technical descriptions can be found in the addendum to this document.

        *Please note that productions sent to the SEC via United States Postal Service are subject to Mail Irradiation, and as
        a result electronic productions may be damaged.*




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Delivery Formats

I.   Imaged Productions
     The SEC prefers that all scanned paper and electronic file collections be produced in a structured format including industry
     standard load files, Bates numbered image files, native files and searchable document-level text files.

     1.   Images
             a.     Black and white images must be 300 DPI Group IV single-page TIFF files
             b.     Color images must be produced in JPEG format
             c.     File names cannot contain embedded spaces or special characters (including the comma)
             d.     Folder names cannot contain embedded spaces or special characters (including the comma)
             e.     All image files must have a unique file name, i.e. Bates number
             f.     Images must be endorsed with sequential Bates numbers in the lower right corner of each image
             g.     The number of image files per folder should not exceed 2,000 files
             h.     Excel spreadsheets should have a placeholder image named by the Bates number of the file
             i.     AUTOCAD/photograph files should be produced as a single page JPEG file

     2.    Image Cross-Reference File
           The image cross-reference file (.LOG or .OPT) links the images to the database records. It should be a comma-delimited
           file consisting of seven fields per line with a line in the cross-reference file for every image in the database with the
           following format:
                  ImageID,VolumeLabel,ImageFilePath,DocumentBreak,FolderBreak,BoxBreak,PageCount

     3. Data File
        The data file (.DAT) contains all of the fielded information that will be loaded into the database.

          a.   The first line of the .DAT file must be a header row identifying the field names
          b.   The .DAT file must use the following Concordance® default delimiters:
                   Comma ASCII character (020)
                   Quote þ ASCII character (254)
          c.   If the .DAT file is produced in Unicode format it must contain the byte order marker
          d.   Date fields should be provided in the format: mm/dd/yyyy
          e.   Date and time fields must be two separate fields
          f.   The time zone must be included in all time fields
          g.   If the production includes imaged emails and attachments, the attachment fields must be included to preserve the
               parent/child relationship between an email and its attachments
          h.   An OCRPATH field must be included to provide the file path and name of the extracted text file on the produced
               storage media. The text file must be named after the FIRSTBATES. Do not include the text in the .DAT file.
          i.   For productions with native files, a LINK field must be included to provide the file path and name of the native file
               on the produced storage media. The native file must be named after the FIRSTBATES.
          h.   BEGATTACH and ENDATTACH fields must be two separate fields
          i.   A complete list of metadata fields is available in Addendum A to this document

     4. Text
        Text must be produced as separate document-level text files, not as fields within the .DAT file. The text files must be named
        per the FIRSTBATES/Image Key and the full path to the text file (OCRPATH) should be included in the .DAT file. Text files
        may be in either ANSI or Unicode format, however, ALL text files must be in the same format within the same production.
        Note that productions containing text with foreign characters must produce text files in Unicode format to preserve the foreign
        characters. Text files must be in a separate folder, and the number of text files per folder should not exceed 2,000 files.
        There should be no special characters (including commas) in the folder names. For redacted documents, provide the full
        text for the redacted version.

     5.    Linked Native Files
           Copies of original email and native file documents/attachments must be included for all electronic productions.
           a. Native file documents must be named per the FIRSTBATES number
           b. The full path of the native file must be provided in the .DAT file for the LINK field
           c. The number of native files per folder should not exceed 2,000 files




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 II.   Native File Production without Load Files
       With prior approval, native files may be produced without load files. The native files must be produced as they are maintained
       in the normal course of business and organized by custodian-named file folders. When approved, Outlook (.PST) and Lotus
       Notes (.NSF) email files may be produced in native file format. A separate folder should be provided for each custodian.

III.   Adobe PDF File Production
       With prior approval, Adobe PDF files may be produced in native file format.
           1. All PDFs must be unitized at the document level, i.e., each PDF must represent a discrete document.
           2. PDF files should be produced in separate folders named by the custodian. The folders should not contain any
               special characters (including commas).
           3. All PDF files must contain embedded text that includes all discernible words within the document, not selected text
               or image only. This requires all layers of the PDF to be flattened first.
           4. If PDF files are Bates endorsed, the PDF files must be named by the Bates range.

 IV. Audio Files
     Audio files from telephone recording systems must be produced in a format that is playable using Microsoft Windows
     Media Player™. Additionally, the call information (metadata) related to each audio recording MUST be provided. The
     metadata file must be produced in a delimited text format. Field names must be included in the first row of the text file.
     The metadata must include, at a minimum, the following fields:
             1)   Caller Name:          Caller’s name or account/identification number
             2)   Originating Number:   Caller’s phone number
             3)   Called Party Name:    Called party’s name
             4)   Terminating Number:   Called party’s phone number
             5)   Date:                 Date of call
             6)   Time:                 Time of call
             7)   Filename:             Filename of audio file

 V.     Video Files
        Video files must be produced in a format that is playable using Microsoft Windows Media Player™.

 VI.    Electronic Trade and Bank Records
        When producing electronic trade records, bank records, or financial statements, provide the files in one of the following
        formats:

        1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
             separate document must be provided that details all such codes. If details of the field structure do not fit in the header,
             a separate document must be provided that includes such details.

        2.   Delimited text file with header information detailing the field structure. The preferred delimiter is a vertical bar “|”. If
             any special codes exist in the dataset, a separate document must be provided that details all such codes. If details of the
             field structure do not fit in the header, a separate document must be provided that includes such details.

  VII. Electronic Phone Records
       When producing electronic phone records, provide the files in the following format:

        1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
             separate document must be provided that details all such codes. If details of the field structure do not fit in the header,
             a separate document must be provided that includes such details. Data must be formatted in its native format (i.e.
             dates in a date format, numbers in an appropriate numerical format, and numbers with leading zeroes as text).
                 a. The metadata that must be included is outlined in Addendum B of this document. Each field of data must be
                       loaded into a separate column. For example, Date and Start_Time must be produced in separate columns and
                       not combined into a single column containing both pieces of information. Any fields of data that are provided
                       in addition to those listed in Addendum B must also be loaded into separate columns.




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VIII. Audit Workpapers
      The SEC prefers for workpapers to be produced in two formats: (1) With Bates numbers in accordance with the SEC Data
      Delivery Standards; and (2) in native format or if proprietary software was used, on a standalone laptop with the
      appropriate software loaded so that the workpapers may be reviewed as they would have been maintained in the ordinary
      course of business. When possible, the laptop should be configured to enable a Virtual Machine (VM) environment.

IX. Mobile Device Data
     Before producing mobile device data (including but not limited to text messages) parties should reach out to the
     requesting SEC staff member in order to discuss the appropriate production format.




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                                                     ADDENDUM A


The metadata of electronic document collections should be extracted and provided in a .DAT file using the field definition and
formatting described below:


         Field Name            Sample Data                    Description
         FIRSTBATES            EDC0000001                     First Bates number of native file document/email
         LASTBATES             EDC0000001                     Last Bates number of native file document/email
                                                              **The LASTBATES field should be populated
                                                                 for single page documents/emails.
         ATTACHRANGE           EDC0000001 - EDC0000015        Bates number of the first page of the parent
                                                              document to the Bates number of the last page of the
                                                              last attachment “child” document
         BEGATTACH             EDC0000001                     First Bates number of attachment range
         ENDATTACH             EDC0000015                     Last Bates number of attachment range
         PARENT_BATES          EDC0000001                     First Bates number of parent document/Email
                                                              **This PARENT_BATES field should be populated
                                                                 in each record representing an attachment “child”
                                                                 document
         CHILD_BATES           EDC0000002; EDC0000014         First Bates number of “child” attachment(s); can be
                                                              more than one Bates number listed depending on the
                                                              number of attachments
                                                              **The CHILD_BATES field should be populated in
                                                                 each record representing a “parent” document
         CUSTODIAN             Smith, John                    Email: Mailbox where the email resided
                                                              Native: Name of the individual or department from
                                                              whose files the document originated
         FROM                  John Smith                     Email: Sender
                                                              Native: Author(s) of document
                                                              **semi-colon should be used to separate multiple
                                                                entries
         TO                    Coffman, Janice; LeeW          Recipient(s)
                               [mailto:LeeW@MSN.com]          **semi-colon should be used to separate multiple
                                                                entries
         CC                    Frank Thompson [mailto:        Carbon copy recipient(s)
                               frank_Thompson@cdt.com]        **semi-colon should be used to separate multiple
                                                                entries
         BCC                   John Cain                      Blind carbon copy recipient(s)
                                                              **semi-colon should be used to separate multiple
                                                                entries
         SUBJECT               Board Meeting Minutes          Email: Subject line of the email
                                                              Native: Title of document (if available)
         FILE_NAME             BoardMeetingMinutes.docx       Native: Name of the original native file, including
                                                              extension
         DATE_SENT             10/12/2010                     Email: Date the email was sent
                                                              Native: (empty)
         TIME_SENT/TIME 07:05 PM GMT                          Email: Time the email was sent/ Time zone in which
         _ZONE                                                the emails were standardized during conversion.
                                                              Native: (empty)
                                                              **This data must be a separate field and cannot be
                                                                combined with the DATE_SENT field
         TIME_ZONE             GMT                            The time zone in which the emails were standardized
                                                              during conversion.
                                                              Email: Time zone
                                                              Native: (empty)

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LINK              D:\001\ EDC0000001 msg      Hyperlink to the email or native file document
                                              **The linked file must be named per the
                                                 FIRSTBATES number
MIME_TYPE         application/msword          The content type of an email or native file document
                                              as identified/extracted from the header
FILE_EXTEN        MSG                         The file type extension representing the email or
                                              native file document; will vary depending on the
                                              format
AUTHOR            John Smith                  Email: (empty)
                                              Native: Author of the document
LAST_AUTHOR       Jane Doe                    Email: (empty)
                                              Native: Last Author of the document
DATE_CREATED      10/10/2010                  Email: (empty)
                                              Native: Date the document was created
TIME_CREATED/T 10:25 AM GMT                   Email: (empty)
IME_ZONE                                      Native: Time the document was created including time
                                              zone
                                              **This data must be a separate field and cannot be
DATE_MOD          10/12/2010                  Email: (empty)
                                              Native: Date the document was last modified
TIME_MOD/TIME_ 07:00 PM GMT                   Email: (empty)
ZONE                                          Native: Time the document was last modified
                                              including the time zone
                                              **This data must be a separate field and cannot be
DATE_ACCESSD      10/12/2010                  Email: (empty)
                                              Native: Date the document was last accessed
TIME_ACCESSD/T 07:00 PM GMT                   Email: (empty)
IME_ZONE                                      Native: Time the document was last accessed
                                              including the time zone
                                              **This data must be a separate field and cannot be
PRINTED_DATE      10/12/2010                  Email: (empty)
                                              Native: Date the document was last printed
FILE_SIZE         5,952                       Size of native file document/email in KB
PGCOUNT           1                           Number of pages in native file document/email
PATH              J:\Shared\SmithJ\October    Email: (empty)
                  Agenda.doc                  Native: Path where native file document was stored
                                              including original file name.
INTFILEPATH       Personal Folders\Deleted    Email: original location of email including original
                  Items\Board Meeting         file name.
                  Minutes.msg                 Native: (empty)
INTMSGID          <000805c2c71b$75977050$cb   Email: Unique Message ID
                  8306d1@MSN>                 Native: (empty)




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         HEADER               Return-Path:                     Email: The email header information
                              <example_from@dc.edu>            Native: (empty)
                              X-SpamCatcher-Score:1[X]
                              Received:from[136.167.40.119]
                              (HELO dc.edu)
                              by fe3.dc.edu (CommuniGate
                              Pro SMTP4.1.8)
                              with ESMTP-TLS id 61258719
                              for example_to@mail.dc.edu;
                              Mon, 23 Aug 2004 11:40:10 -
                              0400
                              Message-ID:
                              <4129F3CA.2020509@dc.edu>
                              Date: Mon, 23 Aug 2005
                              11:40:36 -400
                              From:        Taylor        Evans
                              <example_from@dc.edu>
                              User-Agent:Mozilla/5.0
                              (Windows;U; Windows NT 5.1;
                              en-US;rv:1.0.1)
                              Gecko/20020823 Netscape/7.0
                              X-Accept-Language:en-us,en
                              MIME-Version:1.0
                              To:           Jon          Smith
                              <example_to@mail.dc.edu>
                              Subject:Business Development
                              Meeting
                              Content-Type:
                              text/plain;charset=us-ascii;
                              format=flowed
                              Content-Transfer-Encoding:7bit
         MD5HASH              d131dd02c5e6eec4693d9a069       MD5 Hash value of the document.
                              8aff95c
                              2fcab58712467eab4004583eb
                              8fb7f89
         OCRPATH              TEXT/001/EDC0000001.txt         Path to extracted text of the native file




Sample Image Cross-Reference File:
           IMG0000001,,E:\001\IMG0000001.TIF,Y,,,
           IMG0000002,,E:\001\IMG0000002.TIF,,,,
           IMG0000003,,E:\001\IMG0000003.TIF,,,,
           IMG0000004,,E:\001\IMG0000004.TIF,Y,,,
           IMG0000005,,E:\001\IMG0000005.TIF,Y,,,
           IMG0000006,,E:\001\IMG0000006.TIF,,,,




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                                                         ADDENDUM B

For Electronic Phone Records, include the following fields in separate columns:

For Calls:

    1)    Account Number
    2)    Connection Date – Date the call was received or made
    3)    Connection Time – Time call was received or made
    4)    Seizure Time – Time it took for the call to be placed in seconds
    5)    Originating Number – Phone that placed the call
    6)    Terminating Number – Phone that received the call
    7)    Elapsed Time – The length of time the call lasted, preferably in seconds
    8)    End Time – The time the call ended
    9)    Number Dialed – Actual number dialed
    10)   IMEI Originating – Unique id to phone used to make call
    11)   IMEI Terminating– Unique id to phone used to receive call
    12)   IMSI Originating – Unique id to phone used to make call
    13)   IMSI Terminating- Unique id to phone used to receive call
    14)   Call Codes – Identify call direction or other routing information
    15)   Time Zone – Time Zone in which the call was received or placed, if applicable


For Text messages:

    1)    Account Number
    2)    Connection Date – Date the text was received or made
    3)    Connection Time – Time text was received or made
    4)    Originating Number – Who placed the text
    5)    Terminating Number – Who received the text
    6)    IMEI Originating – Unique id to phone used to make text
    7)    IMEI Terminating– Unique id to phone used to receive text
    8)    IMSI Originating - Unique id to phone used to make text
    9)    IMSI Terminating- Unique id to phone used to receive text
    10)   Text Code – Identify text direction, or other text routing information
    11)   Text Type Code – Type of text message (sent SMS, MMS, or other)
    12)   Time Zone – Time Zone in which the call was received or placed, if applicable


For Mobile Data Usage:

    1)    Account Number
    2)    Connection Date – Date the data was received or made
    3)    Connection Time – Time data was received or made
    4)    Originating number – Number that used data
    5)    IMEI Originating – Unique id of phone that used data
    6)    IMSI Originating - Unique id of phone that used data
    7)    Data or Data codes – Identify data direction, or other data routing information
    8)    Time Zone – Time Zone in which the call was received or placed, if applicable




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                           SECURITIES AND EXCHANGE COMMISSION
                                    Washington, D.C. 20549

                     Supplemental Information for Persons Requested to Supply
                     Information Voluntarily or Directed to Supply Information
                               Pursuant to a Commission Subpoena
A. False Statements and Documents
Section 1001 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
upon:
         [W]hoever, in any matter within the jurisdiction of the executive, legislative, or judicial branch of the
         Government of the United States, knowingly and willfully--
             (1) falsifies, conceals, or covers up by any trick, scheme, or device a material fact;
             (2) makes any materially false, fictitious, or fraudulent statement or representation; or
             (3) makes or uses any false writing or document knowing the same to contain any materially false,
             fictitious, or fraudulent statement or entry.

Section 1519 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
upon:
         Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in any
         record, document, or tangible object with the intent to impede, obstruct, or influence the investigation or
         proper administration of any matter within the jurisdiction of any department or agency of the United States
         . . ., or in relation to or contemplation of any such matter.
B. Testimony
If your testimony is taken, you should be aware of the following:
1.   Record. Your testimony will be transcribed by a reporter. If you desire to go off the record, please indicate this to
     the Commission employee taking your testimony, who will determine whether to grant your request. The reporter
     will not go off the record at your, or your counsel’s, direction.
2.   Counsel. You have the right to be accompanied, represented and advised by counsel of your choice. Your
     counsel may advise you before, during and after your testimony; question you briefly at the conclusion of your
     testimony to clarify any of the answers you give during testimony; and make summary notes during your
     testimony solely for your use. If you are accompanied by counsel, you may consult privately.
If you are not accompanied by counsel, please advise the Commission employee taking your testimony if, during the
testimony, you desire to be accompanied, represented and advised by counsel. Your testimony will be adjourned
once to afford you the opportunity to arrange to be so accompanied, represented or advised.
You may be represented by counsel who also represents other persons involved in the Commission’s investigation.
This multiple representation, however, presents a potential conflict of interest if one client’s interests are or may be
adverse to another’s. If you are represented by counsel who also represents other persons involved in the
investigation, the Commission will assume that you and counsel have discussed and resolved all issues concerning
possible conflicts of interest. The choice of counsel, and the responsibility for that choice, is yours.
3.   Transcript Availability. Rule 6 of the Commission’s Rules Relating to Investigations, 17 CFR 203.6, states:
     A person who has submitted documentary evidence or testimony in a formal investigative proceeding
     shall be entitled, upon written request, to procure a copy of his documentary evidence or a transcript of
     his testimony on payment of the appropriate fees: Provided, however, That in a nonpublic formal
     investigative proceeding the Commission may for good cause deny such request. In any event, any
     witness, upon proper identification, shall have the right to inspect the official transcript of the witness’
     own testimony.
If you wish to purchase a copy of the transcript of your testimony, the reporter will provide you with a copy of the
appropriate form. Persons requested to supply information voluntarily will be allowed the rights provided by this rule.
4. Perjury. Section 1621 of Title 18 of the United States Code provides that fines and terms of imprisonment may
be imposed upon:
         Whoever--
              (1) having taken an oath before a competent tribunal, officer, or person, in any case in which a law of
              the United States authorizes an oath to be administered, that he will testify, declare, depose, or certify

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             truly, or that any written testimony, declaration, deposition, or certificate by him subscribed, is true,
             willfully and contrary to such oath states or subscribes any material matter which he does not believe to
             be true; or
             (2) in any declaration, certificate, verification, or statement under penalty of perjury as permitted under
             section 1746 of title 28, United States Code, willfully subscribes as true any material matter which he
             does not believe to be true.
5. Fifth Amendment and Voluntary Testimony. Information you give may be used against you in any federal, state,
local or foreign administrative, civil or criminal proceeding brought by the Commission or any other agency.
You may refuse, in accordance with the rights guaranteed to you by the Fifth Amendment to the Constitution of the
United States, to give any information that may tend to incriminate you.
If your testimony is not pursuant to subpoena, your appearance to testify is voluntary, you need not answer any
question, and you may leave whenever you wish. Your cooperation is, however, appreciated.
6. Formal Order Availability. If the Commission has issued a formal order of investigation, it will be shown to you
during your testimony, at your request. If you desire a copy of the formal order, please make your request in writing.
C. Submissions and Settlements
Rule 5(c) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(c), states:
         Persons who become involved in . . . investigations may, on their own initiative, submit a written
         statement to the Commission setting forth their interests and position in regard to the subject matter
         of the investigation. Upon request, the staff, in its discretion, may advise such persons of the
         general nature of the investigation, including the indicated violations as they pertain to them, and
         the amount of time that may be available for preparing and submitting a statement prior to the
         presentation of a staff recommendation to the Commission for the commencement of an
         administrative or injunction proceeding. Submissions by interested persons should be forwarded to
         the appropriate Division Director or Regional Director with a copy to the staff members conducting
         the investigation and should be clearly referenced to the specific investigation to which they relate.
         In the event a recommendation for the commencement of an enforcement proceeding is presented
         by the staff, any submissions by interested persons will be forwarded to the Commission in
         conjunction with the staff memorandum.
The staff of the Commission routinely seeks to introduce submissions made pursuant to Rule 5(c) as evidence in
Commission enforcement proceedings, when the staff deems appropriate.
Rule 5(f) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(f), states:
         In the course of the Commission’s investigations, civil lawsuits, and administrative proceedings, the
         staff, with appropriate authorization, may discuss with persons involved the disposition of such
         matters by consent, by settlement, or in some other manner. It is the policy of the Commission,
         however, that the disposition of any such matter may not, expressly or impliedly, extend to any
         criminal charges that have been, or may be, brought against any such person or any
         recommendation with respect thereto. Accordingly, any person involved in an enforcement matter
         before the Commission who consents, or agrees to consent, to any judgment or order does so
         solely for the purpose of resolving the claims against him in that investigative, civil, or
         administrative matter and not for the purpose of resolving any criminal charges that have been, or
         might be, brought against him. This policy reflects the fact that neither the Commission nor its staff
         has the authority or responsibility for instituting, conducting, settling, or otherwise disposing of
         criminal proceedings. That authority and responsibility are vested in the Attorney General and
         representatives of the Department of Justice.
D. Freedom of Information Act
The Freedom of Information Act, 5 U.S.C. 552 (the “FOIA”), generally provides for disclosure of information to the
public. Rule 83 of the Commission’s Rules on Information and Requests, 17 CFR 200.83, provides a procedure by
which a person can make a written request that information submitted to the Commission not be disclosed under the
FOIA. That rule states that no determination as to the validity of such a request will be made until a request for
disclosure of the information under the FOIA is received. Accordingly, no response to a request that information not
be disclosed under the FOIA is necessary or will be given until a request for disclosure under the FOIA is received. If
you desire an acknowledgment of receipt of your written request that information not be disclosed under the FOIA,
please provide a duplicate request, together with a stamped, self-addressed envelope.




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E. Authority for Solicitation of Information
Persons Directed to Supply Information Pursuant to Subpoena. The authority for requiring production of information is
set forth in the subpoena. Disclosure of the information to the Commission is mandatory, subject to the valid assertion
of any legal right or privilege you might have.
Persons Requested to Supply Information Voluntarily. One or more of the following provisions authorizes the
Commission to solicit the information requested: Sections 19 and/or 20 of the Securities Act of 1933; Section 21 of
the Securities Exchange Act of 1934; Section 321 of the Trust Indenture Act of 1939; Section 42 of the Investment
Company Act of 1940; Section 209 of the Investment Advisers Act of 1940; and 17 CFR 202.5. Disclosure of the
requested information to the Commission is voluntary on your part.
F. Effect of Not Supplying Information
Persons Directed to Supply Information Pursuant to Subpoena. If you fail to comply with the subpoena, the
Commission may seek a court order requiring you to do so. If such an order is obtained and you thereafter fail to
supply the information, you may be subject to civil and/or criminal sanctions for contempt of court. In addition, Section
21(c) of the Securities Exchange Act of 1934, Section 42(c) of the Investment Company Act of 1940, and Section
209(c) of the Investment Advisers Act of 1940 provide that fines and terms of imprisonment may be imposed upon
any person who shall, without just cause, fail or refuse to attend and testify or to answer any lawful inquiry, or to
produce books, papers, correspondence, memoranda, and other records in compliance with the subpoena.
Persons Requested to Supply Information Voluntarily. There are no direct sanctions and thus no direct effects for
failing to provide all or any part of the requested information.
G. Principal Uses of Information
The Commission’s principal purpose in soliciting the information is to gather facts in order to determine whether any
person has violated, is violating, or is about to violate any provision of the federal securities laws or rules for which
the Commission has enforcement authority, such as rules of securities exchanges and the rules of the Municipal
Securities Rulemaking Board. Facts developed may, however, constitute violations of other laws or rules. Information
provided may be used in Commission and other agency enforcement proceedings. Unless the Commission or its staff
explicitly agrees to the contrary in writing, you should not assume that the Commission or its staff acquiesces in,
accedes to, or concurs or agrees with, any position, condition, request, reservation of right, understanding, or any
other statement that purports, or may be deemed, to be or to reflect a limitation upon the Commission’s receipt, use,
disposition, transfer, or retention, in accordance with applicable law, of information provided.
H. Routine Uses of Information
The Commission often makes its files available to other governmental agencies, particularly United States Attorneys
and state prosecutors. There is a likelihood that information supplied by you will be made available to such agencies
where appropriate. Whether or not the Commission makes its files available to other governmental agencies is, in
general, a confidential matter between the Commission and such other governmental agencies.
Set forth below is a list of the routine uses which may be made of the information furnished.
1. To appropriate agencies, entities, and persons when (a) it is suspected or confirmed that the security or
confidentiality of information in the system of records has been compromised; (b) the SEC has determined that, as a
result of the suspected or confirmed compromise, there is a risk of harm to economic or property interests, identity
theft or fraud, or harm to the security or integrity of this system or other systems or programs (whether maintained by
the SEC or another agency or entity) that rely upon the compromised information; and (c) the disclosure made to
such agencies, entities, and persons is reasonably necessary to assist in connection with the SEC’s efforts to
respond to the suspected or confirmed compromise and prevent, minimize, or remedy such harm.
2. To other federal, state, local, or foreign law enforcement agencies; securities self-regulatory organizations; and
foreign financial regulatory authorities to assist in or coordinate regulatory or law enforcement activities with the SEC.
3. To national securities exchanges and national securities associations that are registered with the SEC, the
Municipal Securities Rulemaking Board; the Securities Investor Protection Corporation; the Public Company
Accounting Oversight Board; the federal banking authorities, including, but not limited to, the Board of Governors of
the Federal Reserve System, the Comptroller of the Currency, and the Federal Deposit Insurance Corporation; state
securities regulatory agencies or organizations; or regulatory authorities of a foreign government in connection with
their regulatory or enforcement responsibilities.
4. By SEC personnel for purposes of investigating possible violations of, or to conduct investigations authorized by,
the federal securities laws.
5. In any proceeding where the federal securities laws are in issue or in which the Commission, or past or present
members of its staff, is a party or otherwise involved in an official capacity.




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6. In connection with proceedings by the Commission pursuant to Rule 102(e) of its Rules of Practice, 17 CFR
201.102(e).
7. To a bar association, state accountancy board, or other federal, state, local, or foreign licensing or oversight
authority; or professional association or self-regulatory authority to the extent that it performs similar functions
(including the Public Company Accounting Oversight Board) for investigations or possible disciplinary action.
8. To a federal, state, local, tribal, foreign, or international agency, if necessary to obtain information relevant to the
SEC’s decision concerning the hiring or retention of an employee; the issuance of a security clearance; the letting of
a contract; or the issuance of a license, grant, or other benefit.
9. To a federal, state, local, tribal, foreign, or international agency in response to its request for information
concerning the hiring or retention of an employee; the issuance of a security clearance; the reporting of an
investigation of an employee; the letting of a contract; or the issuance of a license, grant, or other benefit by the
requesting agency, to the extent that the information is relevant and necessary to the requesting agency's decision on
the matter.
10. To produce summary descriptive statistics and analytical studies, as a data source for management information,
in support of the function for which the records are collected and maintained or for related personnel management
functions or manpower studies; may also be used to respond to general requests for statistical information (without
personal identification of individuals) under the Freedom of Information Act.
11. To any trustee, receiver, master, special counsel, or other individual or entity that is appointed by a court of
competent jurisdiction, or as a result of an agreement between the parties in connection with litigation or
administrative proceedings involving allegations of violations of the federal securities laws (as defined in section
3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)) or pursuant to the Commission’s Rules of
Practice, 17 CFR 201.100 – 900 or the Commission’s Rules of Fair Fund and Disgorgement Plans, 17 CFR
201.1100-1106, or otherwise, where such trustee, receiver, master, special counsel, or other individual or entity is
specifically designated to perform particular functions with respect to, or as a result of, the pending action or
proceeding or in connection with the administration and enforcement by the Commission of the federal securities laws
or the Commission’s Rules of Practice or the Rules of Fair Fund and Disgorgement Plans.
12. To any persons during the course of any inquiry, examination, or investigation conducted by the SEC’s staff, or in
connection with civil litigation, if the staff has reason to believe that the person to whom the record is disclosed may
have further information about the matters related therein, and those matters appeared to be relevant at the time to
the subject matter of the inquiry.
13. To interns, grantees, experts, contractors, and others who have been engaged by the Commission to assist in
the performance of a service related to this system of records and who need access to the records for the purpose of
assisting the Commission in the efficient administration of its programs, including by performing clerical,
stenographic, or data analysis functions, or by reproduction of records by electronic or other means. Recipients of
these records shall be required to comply with the requirements of the Privacy Act of 1974, as amended, 5 U.S.C.
552a.
14. In reports published by the Commission pursuant to authority granted in the federal securities laws (as such term
is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), which authority shall
include, but not be limited to, section 21(a) of the Securities Exchange Act of 1934, 15 U.S.C. 78u(a)).
15. To members of advisory committees that are created by the Commission or by Congress to render advice and
recommendations to the Commission or to Congress, to be used solely in connection with their official designated
functions.
16. To any person who is or has agreed to be subject to the Commission’s Rules of Conduct, 17 CFR 200.735-1 to
200.735-18, and who assists in the investigation by the Commission of possible violations of the federal securities
laws (as such term is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), in the
preparation or conduct of enforcement actions brought by the Commission for such violations, or otherwise in
connection with the Commission’s enforcement or regulatory functions under the federal securities laws.
17. To a Congressional office from the record of an individual in response to an inquiry from the Congressional office
made at the request of that individual.
18. To members of Congress, the press, and the public in response to inquiries relating to particular Registrants and
their activities, and other matters under the Commission’s jurisdiction.
19. To prepare and publish information relating to violations of the federal securities laws as provided in 15 U.S.C.
78c(a)(47)), as amended.
20. To respond to subpoenas in any litigation or other proceeding.
21. To a trustee in bankruptcy.



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22. To any governmental agency, governmental or private collection agent, consumer reporting agency or
commercial reporting agency, governmental or private employer of a debtor, or any other person, for collection,
including collection by administrative offset, federal salary offset, tax refund offset, or administrative wage
garnishment, of amounts owed as a result of Commission civil or administrative proceedings.

                                                     *****
Small Business Owners: The SEC always welcomes comments on how it can better assist small businesses. If you
would like more information, or have questions or comments about federal securities regulations as they affect small
businesses, please contact the Office of Small Business Policy, in the SEC’s Division of Corporation Finance, at 202-
551-3460. If you would prefer to comment to someone outside of the SEC, you can contact the Small Business
Regulatory Enforcement Ombudsman at http://www.sba.gov/ombudsman or toll free at 888-REG-FAIR. The
Ombudsman’s office receives comments from small businesses and annually evaluates federal agency enforcement
activities for their responsiveness to the special needs of small business.




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[FOR DOMESTIC U.S. RECORDS]

               DECLARATION OF [Insert Name] CERTIFYING RECORDS
                OF REGULARLY CONDUCTED BUSINESS ACTIVITY

I, the undersigned, [insert name], pursuant to 28 U.S.C. § 1746, declare that:

   1. I am employed by [insert name of company] as [insert position] and by reason of my
      position am authorized and qualified to make this declaration. [if possible supply
      additional information as to how person is qualified to make declaration, e.g., I am
      custodian of records, I am familiar with the company’s recordkeeping practices or
      systems, etc.]

   2. I further certify that the documents [attached hereto or submitted herewith] and stamped
      [insert bates range] are true copies of records that were:

       (a) made at or near the time of the occurrence of the matters set forth therein, by, or from
       information transmitted by, a person with knowledge of those matters;

       (b) kept in the course of regularly conducted business activity; and

       (c) made by the regularly conducted business activity as a regular practice.

I declare under penalty of perjury that the foregoing is true and correct. Executed on
[date].



                                       ____________________________
                                            [Name]
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                                                                                            Data Delivery Standards


This document describes the technical requirements for paper and electronic document productions to the U.S.
Securities and Exchange Commission (SEC). **Any questions or proposed file formats other than those
described below must be discussed with the legal and technical staff of the SEC Division of Enforcement
prior to submission.**

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General Instructions

Electronic files must be produced in their native format, i.e. the format in which they are ordinarily used and maintained during the
normal course of business. For example, an MS Excel file must be produced as an MS Excel file rather than an image of a
spreadsheet. (Note: An Adobe PDF file is not considered a native file unless the document was initially created as a PDF.)

In the event produced files require the use of proprietary software not commonly found in the workplace, the SEC will explore
other format options with the producing party.

The proposed use of file de-duplication methodologies or computer-assisted review or technology-assisted review (TAR) during
the processing of documents must be discussed with and approved by the legal and technical staff of the Division of
Enforcement (ENF). If your production will be de-duplicated it is vital that you 1) preserve any unique metadata associated with
the duplicate files, for example, custodian name and file location and, 2) make that unique metadata part of your production to
the SEC.


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General requirements for ALL document productions are:

  1.     A cover letter must be included with each production and should include the following information:
              a. Case number, case name and requesting SEC staff member name
              b. A list of each piece of media included in the production with its unique production volume number
              c. A list of custodians, identifying the Bates range for each custodian
              d. The time zone in which the emails were standardized during conversion
              e. Whether the production contains native files produced from Mac operating system environments
  2.     Data can be produced on CD, DVD, thumb drive, etc., using the media requiring the least number of deliverables and
         labeled with the following:
              a. Case number
              b. Production date
              c. Producing party
              d. Bates range (if applicable)
  3.     All submissions must be organized by custodian unless otherwise instructed.
  4.     All document family groups, i.e. email attachments, embedded files, etc., should be produced together and children files
         should follow parent files sequentially in the Bates numbering.
  5.     All load-ready collections should include only one data load file and one image pointer file.
  6.     All load-ready text must be produced as separate document-level text files.
  7.     All load-ready collections should account for custodians in the custodian field.
  8.     All load-ready collections must provide the extracted contents of any container files to ensure all relevant files are produced
         as separate records.
  9.     Audio files should be separated from data files if both are included in the production.
  10.    Only alphanumeric characters and the underscore character are permitted in file names and folder names. Special characters
         are not permitted.
  11.    All electronic productions submitted on media must be produced using industry standard self-extracting encryption
         software.
  12.    Electronic productions may be submitted via Secure File Transfer. The SEC cannot accept productions made using file
         sharing sites such as Google Drive, Microsoft Office 365 or Dropbox.
  13.    Productions containing BSA or SAR material must be delivered on encrypted physical media. The SEC cannot accept
         electronic transmission of BSA or SAR material. Any BSA or SAR material produced should be segregated and
         appropriately marked as BSA or SAR material, or should be produced separately from other case related material.
  14.    Passwords for electronic documents, files, compressed archives and encrypted media must be provided separately either via
         email or in a cover letter apart from the media.
  15.    All electronic productions should be produced free of computer viruses.
  16.    Before producing forensically collected images, parties should reach out to the requesting SEC staff member in order to
         discuss appropriate handling.
  17.    Before producing unique data sets (large sets of relational data, website reconstruction, chat room data, etc.), parties should
         reach out to the requesting SEC staff member in order to discuss an appropriate production format.
  18.    Additional technical descriptions can be found in the addendum to this document.

        *Please note that productions sent to the SEC via United States Postal Service are subject to Mail Irradiation, and as
        a result electronic productions may be damaged.*




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Delivery Formats

I.   Imaged Productions
     The SEC prefers that all scanned paper and electronic file collections be produced in a structured format including industry
     standard load files, Bates numbered image files, native files and searchable document-level text files.

     1.   Images
             a.     Black and white images must be 300 DPI Group IV single-page TIFF files
             b.     Color images must be produced in JPEG format
             c.     File names cannot contain embedded spaces or special characters (including the comma)
             d.     Folder names cannot contain embedded spaces or special characters (including the comma)
             e.     All image files must have a unique file name, i.e. Bates number
             f.     Images must be endorsed with sequential Bates numbers in the lower right corner of each image
             g.     The number of image files per folder should not exceed 2,000 files
             h.     Excel spreadsheets should have a placeholder image named by the Bates number of the file
             i.     AUTOCAD/photograph files should be produced as a single page JPEG file

     2.    Image Cross-Reference File
           The image cross-reference file (.LOG or .OPT) links the images to the database records. It should be a comma-delimited
           file consisting of seven fields per line with a line in the cross-reference file for every image in the database with the
           following format:
                  ImageID,VolumeLabel,ImageFilePath,DocumentBreak,FolderBreak,BoxBreak,PageCount

     3. Data File
        The data file (.DAT) contains all of the fielded information that will be loaded into the database.

          a.   The first line of the .DAT file must be a header row identifying the field names
          b.   The .DAT file must use the following Concordance® default delimiters:
                   Comma ASCII character (020)
                   Quote þ ASCII character (254)
          c.   If the .DAT file is produced in Unicode format it must contain the byte order marker
          d.   Date fields should be provided in the format: mm/dd/yyyy
          e.   Date and time fields must be two separate fields
          f.   The time zone must be included in all time fields
          g.   If the production includes imaged emails and attachments, the attachment fields must be included to preserve the
               parent/child relationship between an email and its attachments
          h.   An OCRPATH field must be included to provide the file path and name of the extracted text file on the produced
               storage media. The text file must be named after the FIRSTBATES. Do not include the text in the .DAT file.
          i.   For productions with native files, a LINK field must be included to provide the file path and name of the native file
               on the produced storage media. The native file must be named after the FIRSTBATES.
          h.   BEGATTACH and ENDATTACH fields must be two separate fields
          i.   A complete list of metadata fields is available in Addendum A to this document

     4. Text
        Text must be produced as separate document-level text files, not as fields within the .DAT file. The text files must be named
        per the FIRSTBATES/Image Key and the full path to the text file (OCRPATH) should be included in the .DAT file. Text files
        may be in either ANSI or Unicode format, however, ALL text files must be in the same format within the same production.
        Note that productions containing text with foreign characters must produce text files in Unicode format to preserve the foreign
        characters. Text files must be in a separate folder, and the number of text files per folder should not exceed 2,000 files.
        There should be no special characters (including commas) in the folder names. For redacted documents, provide the full
        text for the redacted version.

     5.    Linked Native Files
           Copies of original email and native file documents/attachments must be included for all electronic productions.
           a. Native file documents must be named per the FIRSTBATES number
           b. The full path of the native file must be provided in the .DAT file for the LINK field
           c. The number of native files per folder should not exceed 2,000 files




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 II.   Native File Production without Load Files
       With prior approval, native files may be produced without load files. The native files must be produced as they are maintained
       in the normal course of business and organized by custodian-named file folders. When approved, Outlook (.PST) and Lotus
       Notes (.NSF) email files may be produced in native file format. A separate folder should be provided for each custodian.

III.   Adobe PDF File Production
       With prior approval, Adobe PDF files may be produced in native file format.
           1. All PDFs must be unitized at the document level, i.e., each PDF must represent a discrete document.
           2. PDF files should be produced in separate folders named by the custodian. The folders should not contain any
               special characters (including commas).
           3. All PDF files must contain embedded text that includes all discernible words within the document, not selected text
               or image only. This requires all layers of the PDF to be flattened first.
           4. If PDF files are Bates endorsed, the PDF files must be named by the Bates range.

 IV. Audio Files
     Audio files from telephone recording systems must be produced in a format that is playable using Microsoft Windows
     Media Player™. Additionally, the call information (metadata) related to each audio recording MUST be provided. The
     metadata file must be produced in a delimited text format. Field names must be included in the first row of the text file.
     The metadata must include, at a minimum, the following fields:
             1)   Caller Name:          Caller’s name or account/identification number
             2)   Originating Number:   Caller’s phone number
             3)   Called Party Name:    Called party’s name
             4)   Terminating Number:   Called party’s phone number
             5)   Date:                 Date of call
             6)   Time:                 Time of call
             7)   Filename:             Filename of audio file

 V.     Video Files
        Video files must be produced in a format that is playable using Microsoft Windows Media Player™.

 VI.    Electronic Trade and Bank Records
        When producing electronic trade records, bank records, or financial statements, provide the files in one of the following
        formats:

        1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
             separate document must be provided that details all such codes. If details of the field structure do not fit in the header,
             a separate document must be provided that includes such details.

        2.   Delimited text file with header information detailing the field structure. The preferred delimiter is a vertical bar “|”. If
             any special codes exist in the dataset, a separate document must be provided that details all such codes. If details of the
             field structure do not fit in the header, a separate document must be provided that includes such details.

  VII. Electronic Phone Records
       When producing electronic phone records, provide the files in the following format:

        1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
             separate document must be provided that details all such codes. If details of the field structure do not fit in the header,
             a separate document must be provided that includes such details. Data must be formatted in its native format (i.e.
             dates in a date format, numbers in an appropriate numerical format, and numbers with leading zeroes as text).
                 a. The metadata that must be included is outlined in Addendum B of this document. Each field of data must be
                       loaded into a separate column. For example, Date and Start_Time must be produced in separate columns and
                       not combined into a single column containing both pieces of information. Any fields of data that are provided
                       in addition to those listed in Addendum B must also be loaded into separate columns.




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VIII. Audit Workpapers
      The SEC prefers for workpapers to be produced in two formats: (1) With Bates numbers in accordance with the SEC Data
      Delivery Standards; and (2) in native format or if proprietary software was used, on a standalone laptop with the
      appropriate software loaded so that the workpapers may be reviewed as they would have been maintained in the ordinary
      course of business. When possible, the laptop should be configured to enable a Virtual Machine (VM) environment.

IX. Mobile Device Data
     Before producing mobile device data (including but not limited to text messages) parties should reach out to the
     requesting SEC staff member in order to discuss the appropriate production format.




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                                                     ADDENDUM A


The metadata of electronic document collections should be extracted and provided in a .DAT file using the field definition and
formatting described below:


         Field Name            Sample Data                    Description
         FIRSTBATES            EDC0000001                     First Bates number of native file document/email
         LASTBATES             EDC0000001                     Last Bates number of native file document/email
                                                              **The LASTBATES field should be populated
                                                                 for single page documents/emails.
         ATTACHRANGE           EDC0000001 - EDC0000015        Bates number of the first page of the parent
                                                              document to the Bates number of the last page of the
                                                              last attachment “child” document
         BEGATTACH             EDC0000001                     First Bates number of attachment range
         ENDATTACH             EDC0000015                     Last Bates number of attachment range
         PARENT_BATES          EDC0000001                     First Bates number of parent document/Email
                                                              **This PARENT_BATES field should be populated
                                                                 in each record representing an attachment “child”
                                                                 document
         CHILD_BATES           EDC0000002; EDC0000014         First Bates number of “child” attachment(s); can be
                                                              more than one Bates number listed depending on the
                                                              number of attachments
                                                              **The CHILD_BATES field should be populated in
                                                                 each record representing a “parent” document
         CUSTODIAN             Smith, John                    Email: Mailbox where the email resided
                                                              Native: Name of the individual or department from
                                                              whose files the document originated
         FROM                  John Smith                     Email: Sender
                                                              Native: Author(s) of document
                                                              **semi-colon should be used to separate multiple
                                                                entries
         TO                    Coffman, Janice; LeeW          Recipient(s)
                               [mailto:LeeW@MSN.com]          **semi-colon should be used to separate multiple
                                                                entries
         CC                    Frank Thompson [mailto:        Carbon copy recipient(s)
                               frank_Thompson@cdt.com]        **semi-colon should be used to separate multiple
                                                                entries
         BCC                   John Cain                      Blind carbon copy recipient(s)
                                                              **semi-colon should be used to separate multiple
                                                                entries
         SUBJECT               Board Meeting Minutes          Email: Subject line of the email
                                                              Native: Title of document (if available)
         FILE_NAME             BoardMeetingMinutes.docx       Native: Name of the original native file, including
                                                              extension
         DATE_SENT             10/12/2010                     Email: Date the email was sent
                                                              Native: (empty)
         TIME_SENT/TIME 07:05 PM GMT                          Email: Time the email was sent/ Time zone in which
         _ZONE                                                the emails were standardized during conversion.
                                                              Native: (empty)
                                                              **This data must be a separate field and cannot be
                                                                combined with the DATE_SENT field
         TIME_ZONE             GMT                            The time zone in which the emails were standardized
                                                              during conversion.
                                                              Email: Time zone
                                                              Native: (empty)

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LINK              D:\001\ EDC0000001 msg      Hyperlink to the email or native file document
                                              **The linked file must be named per the
                                                 FIRSTBATES number
MIME_TYPE         application/msword          The content type of an email or native file document
                                              as identified/extracted from the header
FILE_EXTEN        MSG                         The file type extension representing the email or
                                              native file document; will vary depending on the
                                              format
AUTHOR            John Smith                  Email: (empty)
                                              Native: Author of the document
LAST_AUTHOR       Jane Doe                    Email: (empty)
                                              Native: Last Author of the document
DATE_CREATED      10/10/2010                  Email: (empty)
                                              Native: Date the document was created
TIME_CREATED/T 10:25 AM GMT                   Email: (empty)
IME_ZONE                                      Native: Time the document was created including time
                                              zone
                                              **This data must be a separate field and cannot be
DATE_MOD          10/12/2010                  Email: (empty)
                                              Native: Date the document was last modified
TIME_MOD/TIME_ 07:00 PM GMT                   Email: (empty)
ZONE                                          Native: Time the document was last modified
                                              including the time zone
                                              **This data must be a separate field and cannot be
DATE_ACCESSD      10/12/2010                  Email: (empty)
                                              Native: Date the document was last accessed
TIME_ACCESSD/T 07:00 PM GMT                   Email: (empty)
IME_ZONE                                      Native: Time the document was last accessed
                                              including the time zone
                                              **This data must be a separate field and cannot be
PRINTED_DATE      10/12/2010                  Email: (empty)
                                              Native: Date the document was last printed
FILE_SIZE         5,952                       Size of native file document/email in KB
PGCOUNT           1                           Number of pages in native file document/email
PATH              J:\Shared\SmithJ\October    Email: (empty)
                  Agenda.doc                  Native: Path where native file document was stored
                                              including original file name.
INTFILEPATH       Personal Folders\Deleted    Email: original location of email including original
                  Items\Board Meeting         file name.
                  Minutes.msg                 Native: (empty)
INTMSGID          <000805c2c71b$75977050$cb   Email: Unique Message ID
                  8306d1@MSN>                 Native: (empty)




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         HEADER               Return-Path:                     Email: The email header information
                              <example_from@dc.edu>            Native: (empty)
                              X-SpamCatcher-Score:1[X]
                              Received:from[136.167.40.119]
                              (HELO dc.edu)
                              by fe3.dc.edu (CommuniGate
                              Pro SMTP4.1.8)
                              with ESMTP-TLS id 61258719
                              for example_to@mail.dc.edu;
                              Mon, 23 Aug 2004 11:40:10 -
                              0400
                              Message-ID:
                              <4129F3CA.2020509@dc.edu>
                              Date: Mon, 23 Aug 2005
                              11:40:36 -400
                              From:        Taylor        Evans
                              <example_from@dc.edu>
                              User-Agent:Mozilla/5.0
                              (Windows;U; Windows NT 5.1;
                              en-US;rv:1.0.1)
                              Gecko/20020823 Netscape/7.0
                              X-Accept-Language:en-us,en
                              MIME-Version:1.0
                              To:           Jon          Smith
                              <example_to@mail.dc.edu>
                              Subject:Business Development
                              Meeting
                              Content-Type:
                              text/plain;charset=us-ascii;
                              format=flowed
                              Content-Transfer-Encoding:7bit
         MD5HASH              d131dd02c5e6eec4693d9a069       MD5 Hash value of the document.
                              8aff95c
                              2fcab58712467eab4004583eb
                              8fb7f89
         OCRPATH              TEXT/001/EDC0000001.txt         Path to extracted text of the native file




Sample Image Cross-Reference File:
           IMG0000001,,E:\001\IMG0000001.TIF,Y,,,
           IMG0000002,,E:\001\IMG0000002.TIF,,,,
           IMG0000003,,E:\001\IMG0000003.TIF,,,,
           IMG0000004,,E:\001\IMG0000004.TIF,Y,,,
           IMG0000005,,E:\001\IMG0000005.TIF,Y,,,
           IMG0000006,,E:\001\IMG0000006.TIF,,,,




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                                                         ADDENDUM B

For Electronic Phone Records, include the following fields in separate columns:

For Calls:

    1)    Account Number
    2)    Connection Date – Date the call was received or made
    3)    Connection Time – Time call was received or made
    4)    Seizure Time – Time it took for the call to be placed in seconds
    5)    Originating Number – Phone that placed the call
    6)    Terminating Number – Phone that received the call
    7)    Elapsed Time – The length of time the call lasted, preferably in seconds
    8)    End Time – The time the call ended
    9)    Number Dialed – Actual number dialed
    10)   IMEI Originating – Unique id to phone used to make call
    11)   IMEI Terminating– Unique id to phone used to receive call
    12)   IMSI Originating – Unique id to phone used to make call
    13)   IMSI Terminating- Unique id to phone used to receive call
    14)   Call Codes – Identify call direction or other routing information
    15)   Time Zone – Time Zone in which the call was received or placed, if applicable


For Text messages:

    1)    Account Number
    2)    Connection Date – Date the text was received or made
    3)    Connection Time – Time text was received or made
    4)    Originating Number – Who placed the text
    5)    Terminating Number – Who received the text
    6)    IMEI Originating – Unique id to phone used to make text
    7)    IMEI Terminating– Unique id to phone used to receive text
    8)    IMSI Originating - Unique id to phone used to make text
    9)    IMSI Terminating- Unique id to phone used to receive text
    10)   Text Code – Identify text direction, or other text routing information
    11)   Text Type Code – Type of text message (sent SMS, MMS, or other)
    12)   Time Zone – Time Zone in which the call was received or placed, if applicable


For Mobile Data Usage:

    1)    Account Number
    2)    Connection Date – Date the data was received or made
    3)    Connection Time – Time data was received or made
    4)    Originating number – Number that used data
    5)    IMEI Originating – Unique id of phone that used data
    6)    IMSI Originating - Unique id of phone that used data
    7)    Data or Data codes – Identify data direction, or other data routing information
    8)    Time Zone – Time Zone in which the call was received or placed, if applicable




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                     Supplemental Information for Persons Requested to Supply
                     Information Voluntarily or Directed to Supply Information
                               Pursuant to a Commission Subpoena
A. False Statements and Documents
Section 1001 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
upon:
         [W]hoever, in any matter within the jurisdiction of the executive, legislative, or judicial branch of the
         Government of the United States, knowingly and willfully--
             (1) falsifies, conceals, or covers up by any trick, scheme, or device a material fact;
             (2) makes any materially false, fictitious, or fraudulent statement or representation; or
             (3) makes or uses any false writing or document knowing the same to contain any materially false,
             fictitious, or fraudulent statement or entry.

Section 1519 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
upon:
         Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in any
         record, document, or tangible object with the intent to impede, obstruct, or influence the investigation or
         proper administration of any matter within the jurisdiction of any department or agency of the United States
         . . ., or in relation to or contemplation of any such matter.
B. Testimony
If your testimony is taken, you should be aware of the following:
1.   Record. Your testimony will be transcribed by a reporter. If you desire to go off the record, please indicate this to
     the Commission employee taking your testimony, who will determine whether to grant your request. The reporter
     will not go off the record at your, or your counsel’s, direction.
2.   Counsel. You have the right to be accompanied, represented and advised by counsel of your choice. Your
     counsel may advise you before, during and after your testimony; question you briefly at the conclusion of your
     testimony to clarify any of the answers you give during testimony; and make summary notes during your
     testimony solely for your use. If you are accompanied by counsel, you may consult privately.
If you are not accompanied by counsel, please advise the Commission employee taking your testimony if, during the
testimony, you desire to be accompanied, represented and advised by counsel. Your testimony will be adjourned
once to afford you the opportunity to arrange to be so accompanied, represented or advised.
You may be represented by counsel who also represents other persons involved in the Commission’s investigation.
This multiple representation, however, presents a potential conflict of interest if one client’s interests are or may be
adverse to another’s. If you are represented by counsel who also represents other persons involved in the
investigation, the Commission will assume that you and counsel have discussed and resolved all issues concerning
possible conflicts of interest. The choice of counsel, and the responsibility for that choice, is yours.
3.   Transcript Availability. Rule 6 of the Commission’s Rules Relating to Investigations, 17 CFR 203.6, states:
     A person who has submitted documentary evidence or testimony in a formal investigative proceeding
     shall be entitled, upon written request, to procure a copy of his documentary evidence or a transcript of
     his testimony on payment of the appropriate fees: Provided, however, That in a nonpublic formal
     investigative proceeding the Commission may for good cause deny such request. In any event, any
     witness, upon proper identification, shall have the right to inspect the official transcript of the witness’
     own testimony.
If you wish to purchase a copy of the transcript of your testimony, the reporter will provide you with a copy of the
appropriate form. Persons requested to supply information voluntarily will be allowed the rights provided by this rule.
4. Perjury. Section 1621 of Title 18 of the United States Code provides that fines and terms of imprisonment may
be imposed upon:
         Whoever--
              (1) having taken an oath before a competent tribunal, officer, or person, in any case in which a law of
              the United States authorizes an oath to be administered, that he will testify, declare, depose, or certify

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             truly, or that any written testimony, declaration, deposition, or certificate by him subscribed, is true,
             willfully and contrary to such oath states or subscribes any material matter which he does not believe to
             be true; or
             (2) in any declaration, certificate, verification, or statement under penalty of perjury as permitted under
             section 1746 of title 28, United States Code, willfully subscribes as true any material matter which he
             does not believe to be true.
5. Fifth Amendment and Voluntary Testimony. Information you give may be used against you in any federal, state,
local or foreign administrative, civil or criminal proceeding brought by the Commission or any other agency.
You may refuse, in accordance with the rights guaranteed to you by the Fifth Amendment to the Constitution of the
United States, to give any information that may tend to incriminate you.
If your testimony is not pursuant to subpoena, your appearance to testify is voluntary, you need not answer any
question, and you may leave whenever you wish. Your cooperation is, however, appreciated.
6. Formal Order Availability. If the Commission has issued a formal order of investigation, it will be shown to you
during your testimony, at your request. If you desire a copy of the formal order, please make your request in writing.
C. Submissions and Settlements
Rule 5(c) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(c), states:
         Persons who become involved in . . . investigations may, on their own initiative, submit a written
         statement to the Commission setting forth their interests and position in regard to the subject matter
         of the investigation. Upon request, the staff, in its discretion, may advise such persons of the
         general nature of the investigation, including the indicated violations as they pertain to them, and
         the amount of time that may be available for preparing and submitting a statement prior to the
         presentation of a staff recommendation to the Commission for the commencement of an
         administrative or injunction proceeding. Submissions by interested persons should be forwarded to
         the appropriate Division Director or Regional Director with a copy to the staff members conducting
         the investigation and should be clearly referenced to the specific investigation to which they relate.
         In the event a recommendation for the commencement of an enforcement proceeding is presented
         by the staff, any submissions by interested persons will be forwarded to the Commission in
         conjunction with the staff memorandum.
The staff of the Commission routinely seeks to introduce submissions made pursuant to Rule 5(c) as evidence in
Commission enforcement proceedings, when the staff deems appropriate.
Rule 5(f) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(f), states:
         In the course of the Commission’s investigations, civil lawsuits, and administrative proceedings, the
         staff, with appropriate authorization, may discuss with persons involved the disposition of such
         matters by consent, by settlement, or in some other manner. It is the policy of the Commission,
         however, that the disposition of any such matter may not, expressly or impliedly, extend to any
         criminal charges that have been, or may be, brought against any such person or any
         recommendation with respect thereto. Accordingly, any person involved in an enforcement matter
         before the Commission who consents, or agrees to consent, to any judgment or order does so
         solely for the purpose of resolving the claims against him in that investigative, civil, or
         administrative matter and not for the purpose of resolving any criminal charges that have been, or
         might be, brought against him. This policy reflects the fact that neither the Commission nor its staff
         has the authority or responsibility for instituting, conducting, settling, or otherwise disposing of
         criminal proceedings. That authority and responsibility are vested in the Attorney General and
         representatives of the Department of Justice.
D. Freedom of Information Act
The Freedom of Information Act, 5 U.S.C. 552 (the “FOIA”), generally provides for disclosure of information to the
public. Rule 83 of the Commission’s Rules on Information and Requests, 17 CFR 200.83, provides a procedure by
which a person can make a written request that information submitted to the Commission not be disclosed under the
FOIA. That rule states that no determination as to the validity of such a request will be made until a request for
disclosure of the information under the FOIA is received. Accordingly, no response to a request that information not
be disclosed under the FOIA is necessary or will be given until a request for disclosure under the FOIA is received. If
you desire an acknowledgment of receipt of your written request that information not be disclosed under the FOIA,
please provide a duplicate request, together with a stamped, self-addressed envelope.




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E. Authority for Solicitation of Information
Persons Directed to Supply Information Pursuant to Subpoena. The authority for requiring production of information is
set forth in the subpoena. Disclosure of the information to the Commission is mandatory, subject to the valid assertion
of any legal right or privilege you might have.
Persons Requested to Supply Information Voluntarily. One or more of the following provisions authorizes the
Commission to solicit the information requested: Sections 19 and/or 20 of the Securities Act of 1933; Section 21 of
the Securities Exchange Act of 1934; Section 321 of the Trust Indenture Act of 1939; Section 42 of the Investment
Company Act of 1940; Section 209 of the Investment Advisers Act of 1940; and 17 CFR 202.5. Disclosure of the
requested information to the Commission is voluntary on your part.
F. Effect of Not Supplying Information
Persons Directed to Supply Information Pursuant to Subpoena. If you fail to comply with the subpoena, the
Commission may seek a court order requiring you to do so. If such an order is obtained and you thereafter fail to
supply the information, you may be subject to civil and/or criminal sanctions for contempt of court. In addition, Section
21(c) of the Securities Exchange Act of 1934, Section 42(c) of the Investment Company Act of 1940, and Section
209(c) of the Investment Advisers Act of 1940 provide that fines and terms of imprisonment may be imposed upon
any person who shall, without just cause, fail or refuse to attend and testify or to answer any lawful inquiry, or to
produce books, papers, correspondence, memoranda, and other records in compliance with the subpoena.
Persons Requested to Supply Information Voluntarily. There are no direct sanctions and thus no direct effects for
failing to provide all or any part of the requested information.
G. Principal Uses of Information
The Commission’s principal purpose in soliciting the information is to gather facts in order to determine whether any
person has violated, is violating, or is about to violate any provision of the federal securities laws or rules for which
the Commission has enforcement authority, such as rules of securities exchanges and the rules of the Municipal
Securities Rulemaking Board. Facts developed may, however, constitute violations of other laws or rules. Information
provided may be used in Commission and other agency enforcement proceedings. Unless the Commission or its staff
explicitly agrees to the contrary in writing, you should not assume that the Commission or its staff acquiesces in,
accedes to, or concurs or agrees with, any position, condition, request, reservation of right, understanding, or any
other statement that purports, or may be deemed, to be or to reflect a limitation upon the Commission’s receipt, use,
disposition, transfer, or retention, in accordance with applicable law, of information provided.
H. Routine Uses of Information
The Commission often makes its files available to other governmental agencies, particularly United States Attorneys
and state prosecutors. There is a likelihood that information supplied by you will be made available to such agencies
where appropriate. Whether or not the Commission makes its files available to other governmental agencies is, in
general, a confidential matter between the Commission and such other governmental agencies.
Set forth below is a list of the routine uses which may be made of the information furnished.
1. To appropriate agencies, entities, and persons when (a) it is suspected or confirmed that the security or
confidentiality of information in the system of records has been compromised; (b) the SEC has determined that, as a
result of the suspected or confirmed compromise, there is a risk of harm to economic or property interests, identity
theft or fraud, or harm to the security or integrity of this system or other systems or programs (whether maintained by
the SEC or another agency or entity) that rely upon the compromised information; and (c) the disclosure made to
such agencies, entities, and persons is reasonably necessary to assist in connection with the SEC’s efforts to
respond to the suspected or confirmed compromise and prevent, minimize, or remedy such harm.
2. To other federal, state, local, or foreign law enforcement agencies; securities self-regulatory organizations; and
foreign financial regulatory authorities to assist in or coordinate regulatory or law enforcement activities with the SEC.
3. To national securities exchanges and national securities associations that are registered with the SEC, the
Municipal Securities Rulemaking Board; the Securities Investor Protection Corporation; the Public Company
Accounting Oversight Board; the federal banking authorities, including, but not limited to, the Board of Governors of
the Federal Reserve System, the Comptroller of the Currency, and the Federal Deposit Insurance Corporation; state
securities regulatory agencies or organizations; or regulatory authorities of a foreign government in connection with
their regulatory or enforcement responsibilities.
4. By SEC personnel for purposes of investigating possible violations of, or to conduct investigations authorized by,
the federal securities laws.
5. In any proceeding where the federal securities laws are in issue or in which the Commission, or past or present
members of its staff, is a party or otherwise involved in an official capacity.




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6. In connection with proceedings by the Commission pursuant to Rule 102(e) of its Rules of Practice, 17 CFR
201.102(e).
7. To a bar association, state accountancy board, or other federal, state, local, or foreign licensing or oversight
authority; or professional association or self-regulatory authority to the extent that it performs similar functions
(including the Public Company Accounting Oversight Board) for investigations or possible disciplinary action.
8. To a federal, state, local, tribal, foreign, or international agency, if necessary to obtain information relevant to the
SEC’s decision concerning the hiring or retention of an employee; the issuance of a security clearance; the letting of
a contract; or the issuance of a license, grant, or other benefit.
9. To a federal, state, local, tribal, foreign, or international agency in response to its request for information
concerning the hiring or retention of an employee; the issuance of a security clearance; the reporting of an
investigation of an employee; the letting of a contract; or the issuance of a license, grant, or other benefit by the
requesting agency, to the extent that the information is relevant and necessary to the requesting agency's decision on
the matter.
10. To produce summary descriptive statistics and analytical studies, as a data source for management information,
in support of the function for which the records are collected and maintained or for related personnel management
functions or manpower studies; may also be used to respond to general requests for statistical information (without
personal identification of individuals) under the Freedom of Information Act.
11. To any trustee, receiver, master, special counsel, or other individual or entity that is appointed by a court of
competent jurisdiction, or as a result of an agreement between the parties in connection with litigation or
administrative proceedings involving allegations of violations of the federal securities laws (as defined in section
3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)) or pursuant to the Commission’s Rules of
Practice, 17 CFR 201.100 – 900 or the Commission’s Rules of Fair Fund and Disgorgement Plans, 17 CFR
201.1100-1106, or otherwise, where such trustee, receiver, master, special counsel, or other individual or entity is
specifically designated to perform particular functions with respect to, or as a result of, the pending action or
proceeding or in connection with the administration and enforcement by the Commission of the federal securities laws
or the Commission’s Rules of Practice or the Rules of Fair Fund and Disgorgement Plans.
12. To any persons during the course of any inquiry, examination, or investigation conducted by the SEC’s staff, or in
connection with civil litigation, if the staff has reason to believe that the person to whom the record is disclosed may
have further information about the matters related therein, and those matters appeared to be relevant at the time to
the subject matter of the inquiry.
13. To interns, grantees, experts, contractors, and others who have been engaged by the Commission to assist in
the performance of a service related to this system of records and who need access to the records for the purpose of
assisting the Commission in the efficient administration of its programs, including by performing clerical,
stenographic, or data analysis functions, or by reproduction of records by electronic or other means. Recipients of
these records shall be required to comply with the requirements of the Privacy Act of 1974, as amended, 5 U.S.C.
552a.
14. In reports published by the Commission pursuant to authority granted in the federal securities laws (as such term
is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), which authority shall
include, but not be limited to, section 21(a) of the Securities Exchange Act of 1934, 15 U.S.C. 78u(a)).
15. To members of advisory committees that are created by the Commission or by Congress to render advice and
recommendations to the Commission or to Congress, to be used solely in connection with their official designated
functions.
16. To any person who is or has agreed to be subject to the Commission’s Rules of Conduct, 17 CFR 200.735-1 to
200.735-18, and who assists in the investigation by the Commission of possible violations of the federal securities
laws (as such term is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), in the
preparation or conduct of enforcement actions brought by the Commission for such violations, or otherwise in
connection with the Commission’s enforcement or regulatory functions under the federal securities laws.
17. To a Congressional office from the record of an individual in response to an inquiry from the Congressional office
made at the request of that individual.
18. To members of Congress, the press, and the public in response to inquiries relating to particular Registrants and
their activities, and other matters under the Commission’s jurisdiction.
19. To prepare and publish information relating to violations of the federal securities laws as provided in 15 U.S.C.
78c(a)(47)), as amended.
20. To respond to subpoenas in any litigation or other proceeding.
21. To a trustee in bankruptcy.



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22. To any governmental agency, governmental or private collection agent, consumer reporting agency or
commercial reporting agency, governmental or private employer of a debtor, or any other person, for collection,
including collection by administrative offset, federal salary offset, tax refund offset, or administrative wage
garnishment, of amounts owed as a result of Commission civil or administrative proceedings.

                                                     *****
Small Business Owners: The SEC always welcomes comments on how it can better assist small businesses. If you
would like more information, or have questions or comments about federal securities regulations as they affect small
businesses, please contact the Office of Small Business Policy, in the SEC’s Division of Corporation Finance, at 202-
551-3460. If you would prefer to comment to someone outside of the SEC, you can contact the Small Business
Regulatory Enforcement Ombudsman at http://www.sba.gov/ombudsman or toll free at 888-REG-FAIR. The
Ombudsman’s office receives comments from small businesses and annually evaluates federal agency enforcement
activities for their responsiveness to the special needs of small business.




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[FOR DOMESTIC U.S. RECORDS]

               DECLARATION OF [Insert Name] CERTIFYING RECORDS
                OF REGULARLY CONDUCTED BUSINESS ACTIVITY

I, the undersigned, [insert name], pursuant to 28 U.S.C. § 1746, declare that:

   1. I am employed by [insert name of company] as [insert position] and by reason of my
      position am authorized and qualified to make this declaration. [if possible supply
      additional information as to how person is qualified to make declaration, e.g., I am
      custodian of records, I am familiar with the company’s recordkeeping practices or
      systems, etc.]

   2. I further certify that the documents [attached hereto or submitted herewith] and stamped
      [insert bates range] are true copies of records that were:

       (a) made at or near the time of the occurrence of the matters set forth therein, by, or from
       information transmitted by, a person with knowledge of those matters;

       (b) kept in the course of regularly conducted business activity; and

       (c) made by the regularly conducted business activity as a regular practice.

I declare under penalty of perjury that the foregoing is true and correct. Executed on
[date].



                                       ____________________________
                                            [Name]
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                                                                       U.S. Securities and Exchange Commission

                                                                                            Data Delivery Standards


This document describes the technical requirements for paper and electronic document productions to the U.S.
Securities and Exchange Commission (SEC). **Any questions or proposed file formats other than those
described below must be discussed with the legal and technical staff of the SEC Division of Enforcement
prior to submission.**

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General Instructions

Electronic files must be produced in their native format, i.e. the format in which they are ordinarily used and maintained during the
normal course of business. For example, an MS Excel file must be produced as an MS Excel file rather than an image of a
spreadsheet. (Note: An Adobe PDF file is not considered a native file unless the document was initially created as a PDF.)

In the event produced files require the use of proprietary software not commonly found in the workplace, the SEC will explore
other format options with the producing party.

The proposed use of file de-duplication methodologies or computer-assisted review or technology-assisted review (TAR) during
the processing of documents must be discussed with and approved by the legal and technical staff of the Division of
Enforcement (ENF). If your production will be de-duplicated it is vital that you 1) preserve any unique metadata associated with
the duplicate files, for example, custodian name and file location and, 2) make that unique metadata part of your production to
the SEC.


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General requirements for ALL document productions are:

  1.     A cover letter must be included with each production and should include the following information:
              a. Case number, case name and requesting SEC staff member name
              b. A list of each piece of media included in the production with its unique production volume number
              c. A list of custodians, identifying the Bates range for each custodian
              d. The time zone in which the emails were standardized during conversion
              e. Whether the production contains native files produced from Mac operating system environments
  2.     Data can be produced on CD, DVD, thumb drive, etc., using the media requiring the least number of deliverables and
         labeled with the following:
              a. Case number
              b. Production date
              c. Producing party
              d. Bates range (if applicable)
  3.     All submissions must be organized by custodian unless otherwise instructed.
  4.     All document family groups, i.e. email attachments, embedded files, etc., should be produced together and children files
         should follow parent files sequentially in the Bates numbering.
  5.     All load-ready collections should include only one data load file and one image pointer file.
  6.     All load-ready text must be produced as separate document-level text files.
  7.     All load-ready collections should account for custodians in the custodian field.
  8.     All load-ready collections must provide the extracted contents of any container files to ensure all relevant files are produced
         as separate records.
  9.     Audio files should be separated from data files if both are included in the production.
  10.    Only alphanumeric characters and the underscore character are permitted in file names and folder names. Special characters
         are not permitted.
  11.    All electronic productions submitted on media must be produced using industry standard self-extracting encryption
         software.
  12.    Electronic productions may be submitted via Secure File Transfer. The SEC cannot accept productions made using file
         sharing sites such as Google Drive, Microsoft Office 365 or Dropbox.
  13.    Productions containing BSA or SAR material must be delivered on encrypted physical media. The SEC cannot accept
         electronic transmission of BSA or SAR material. Any BSA or SAR material produced should be segregated and
         appropriately marked as BSA or SAR material, or should be produced separately from other case related material.
  14.    Passwords for electronic documents, files, compressed archives and encrypted media must be provided separately either via
         email or in a cover letter apart from the media.
  15.    All electronic productions should be produced free of computer viruses.
  16.    Before producing forensically collected images, parties should reach out to the requesting SEC staff member in order to
         discuss appropriate handling.
  17.    Before producing unique data sets (large sets of relational data, website reconstruction, chat room data, etc.), parties should
         reach out to the requesting SEC staff member in order to discuss an appropriate production format.
  18.    Additional technical descriptions can be found in the addendum to this document.

        *Please note that productions sent to the SEC via United States Postal Service are subject to Mail Irradiation, and as
        a result electronic productions may be damaged.*




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Delivery Formats

I.   Imaged Productions
     The SEC prefers that all scanned paper and electronic file collections be produced in a structured format including industry
     standard load files, Bates numbered image files, native files and searchable document-level text files.

     1.   Images
             a.     Black and white images must be 300 DPI Group IV single-page TIFF files
             b.     Color images must be produced in JPEG format
             c.     File names cannot contain embedded spaces or special characters (including the comma)
             d.     Folder names cannot contain embedded spaces or special characters (including the comma)
             e.     All image files must have a unique file name, i.e. Bates number
             f.     Images must be endorsed with sequential Bates numbers in the lower right corner of each image
             g.     The number of image files per folder should not exceed 2,000 files
             h.     Excel spreadsheets should have a placeholder image named by the Bates number of the file
             i.     AUTOCAD/photograph files should be produced as a single page JPEG file

     2.    Image Cross-Reference File
           The image cross-reference file (.LOG or .OPT) links the images to the database records. It should be a comma-delimited
           file consisting of seven fields per line with a line in the cross-reference file for every image in the database with the
           following format:
                  ImageID,VolumeLabel,ImageFilePath,DocumentBreak,FolderBreak,BoxBreak,PageCount

     3. Data File
        The data file (.DAT) contains all of the fielded information that will be loaded into the database.

          a.   The first line of the .DAT file must be a header row identifying the field names
          b.   The .DAT file must use the following Concordance® default delimiters:
                   Comma ASCII character (020)
                   Quote þ ASCII character (254)
          c.   If the .DAT file is produced in Unicode format it must contain the byte order marker
          d.   Date fields should be provided in the format: mm/dd/yyyy
          e.   Date and time fields must be two separate fields
          f.   The time zone must be included in all time fields
          g.   If the production includes imaged emails and attachments, the attachment fields must be included to preserve the
               parent/child relationship between an email and its attachments
          h.   An OCRPATH field must be included to provide the file path and name of the extracted text file on the produced
               storage media. The text file must be named after the FIRSTBATES. Do not include the text in the .DAT file.
          i.   For productions with native files, a LINK field must be included to provide the file path and name of the native file
               on the produced storage media. The native file must be named after the FIRSTBATES.
          h.   BEGATTACH and ENDATTACH fields must be two separate fields
          i.   A complete list of metadata fields is available in Addendum A to this document

     4. Text
        Text must be produced as separate document-level text files, not as fields within the .DAT file. The text files must be named
        per the FIRSTBATES/Image Key and the full path to the text file (OCRPATH) should be included in the .DAT file. Text files
        may be in either ANSI or Unicode format, however, ALL text files must be in the same format within the same production.
        Note that productions containing text with foreign characters must produce text files in Unicode format to preserve the foreign
        characters. Text files must be in a separate folder, and the number of text files per folder should not exceed 2,000 files.
        There should be no special characters (including commas) in the folder names. For redacted documents, provide the full
        text for the redacted version.

     5.    Linked Native Files
           Copies of original email and native file documents/attachments must be included for all electronic productions.
           a. Native file documents must be named per the FIRSTBATES number
           b. The full path of the native file must be provided in the .DAT file for the LINK field
           c. The number of native files per folder should not exceed 2,000 files




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 II.   Native File Production without Load Files
       With prior approval, native files may be produced without load files. The native files must be produced as they are maintained
       in the normal course of business and organized by custodian-named file folders. When approved, Outlook (.PST) and Lotus
       Notes (.NSF) email files may be produced in native file format. A separate folder should be provided for each custodian.

III.   Adobe PDF File Production
       With prior approval, Adobe PDF files may be produced in native file format.
           1. All PDFs must be unitized at the document level, i.e., each PDF must represent a discrete document.
           2. PDF files should be produced in separate folders named by the custodian. The folders should not contain any
               special characters (including commas).
           3. All PDF files must contain embedded text that includes all discernible words within the document, not selected text
               or image only. This requires all layers of the PDF to be flattened first.
           4. If PDF files are Bates endorsed, the PDF files must be named by the Bates range.

 IV. Audio Files
     Audio files from telephone recording systems must be produced in a format that is playable using Microsoft Windows
     Media Player™. Additionally, the call information (metadata) related to each audio recording MUST be provided. The
     metadata file must be produced in a delimited text format. Field names must be included in the first row of the text file.
     The metadata must include, at a minimum, the following fields:
             1)   Caller Name:          Caller’s name or account/identification number
             2)   Originating Number:   Caller’s phone number
             3)   Called Party Name:    Called party’s name
             4)   Terminating Number:   Called party’s phone number
             5)   Date:                 Date of call
             6)   Time:                 Time of call
             7)   Filename:             Filename of audio file

 V.     Video Files
        Video files must be produced in a format that is playable using Microsoft Windows Media Player™.

 VI.    Electronic Trade and Bank Records
        When producing electronic trade records, bank records, or financial statements, provide the files in one of the following
        formats:

        1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
             separate document must be provided that details all such codes. If details of the field structure do not fit in the header,
             a separate document must be provided that includes such details.

        2.   Delimited text file with header information detailing the field structure. The preferred delimiter is a vertical bar “|”. If
             any special codes exist in the dataset, a separate document must be provided that details all such codes. If details of the
             field structure do not fit in the header, a separate document must be provided that includes such details.

  VII. Electronic Phone Records
       When producing electronic phone records, provide the files in the following format:

        1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
             separate document must be provided that details all such codes. If details of the field structure do not fit in the header,
             a separate document must be provided that includes such details. Data must be formatted in its native format (i.e.
             dates in a date format, numbers in an appropriate numerical format, and numbers with leading zeroes as text).
                 a. The metadata that must be included is outlined in Addendum B of this document. Each field of data must be
                       loaded into a separate column. For example, Date and Start_Time must be produced in separate columns and
                       not combined into a single column containing both pieces of information. Any fields of data that are provided
                       in addition to those listed in Addendum B must also be loaded into separate columns.




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VIII. Audit Workpapers
      The SEC prefers for workpapers to be produced in two formats: (1) With Bates numbers in accordance with the SEC Data
      Delivery Standards; and (2) in native format or if proprietary software was used, on a standalone laptop with the
      appropriate software loaded so that the workpapers may be reviewed as they would have been maintained in the ordinary
      course of business. When possible, the laptop should be configured to enable a Virtual Machine (VM) environment.

IX. Mobile Device Data
     Before producing mobile device data (including but not limited to text messages) parties should reach out to the
     requesting SEC staff member in order to discuss the appropriate production format.




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                                                     ADDENDUM A


The metadata of electronic document collections should be extracted and provided in a .DAT file using the field definition and
formatting described below:


         Field Name            Sample Data                    Description
         FIRSTBATES            EDC0000001                     First Bates number of native file document/email
         LASTBATES             EDC0000001                     Last Bates number of native file document/email
                                                              **The LASTBATES field should be populated
                                                                 for single page documents/emails.
         ATTACHRANGE           EDC0000001 - EDC0000015        Bates number of the first page of the parent
                                                              document to the Bates number of the last page of the
                                                              last attachment “child” document
         BEGATTACH             EDC0000001                     First Bates number of attachment range
         ENDATTACH             EDC0000015                     Last Bates number of attachment range
         PARENT_BATES          EDC0000001                     First Bates number of parent document/Email
                                                              **This PARENT_BATES field should be populated
                                                                 in each record representing an attachment “child”
                                                                 document
         CHILD_BATES           EDC0000002; EDC0000014         First Bates number of “child” attachment(s); can be
                                                              more than one Bates number listed depending on the
                                                              number of attachments
                                                              **The CHILD_BATES field should be populated in
                                                                 each record representing a “parent” document
         CUSTODIAN             Smith, John                    Email: Mailbox where the email resided
                                                              Native: Name of the individual or department from
                                                              whose files the document originated
         FROM                  John Smith                     Email: Sender
                                                              Native: Author(s) of document
                                                              **semi-colon should be used to separate multiple
                                                                entries
         TO                    Coffman, Janice; LeeW          Recipient(s)
                               [mailto:LeeW@MSN.com]          **semi-colon should be used to separate multiple
                                                                entries
         CC                    Frank Thompson [mailto:        Carbon copy recipient(s)
                               frank_Thompson@cdt.com]        **semi-colon should be used to separate multiple
                                                                entries
         BCC                   John Cain                      Blind carbon copy recipient(s)
                                                              **semi-colon should be used to separate multiple
                                                                entries
         SUBJECT               Board Meeting Minutes          Email: Subject line of the email
                                                              Native: Title of document (if available)
         FILE_NAME             BoardMeetingMinutes.docx       Native: Name of the original native file, including
                                                              extension
         DATE_SENT             10/12/2010                     Email: Date the email was sent
                                                              Native: (empty)
         TIME_SENT/TIME 07:05 PM GMT                          Email: Time the email was sent/ Time zone in which
         _ZONE                                                the emails were standardized during conversion.
                                                              Native: (empty)
                                                              **This data must be a separate field and cannot be
                                                                combined with the DATE_SENT field
         TIME_ZONE             GMT                            The time zone in which the emails were standardized
                                                              during conversion.
                                                              Email: Time zone
                                                              Native: (empty)

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LINK              D:\001\ EDC0000001 msg      Hyperlink to the email or native file document
                                              **The linked file must be named per the
                                                 FIRSTBATES number
MIME_TYPE         application/msword          The content type of an email or native file document
                                              as identified/extracted from the header
FILE_EXTEN        MSG                         The file type extension representing the email or
                                              native file document; will vary depending on the
                                              format
AUTHOR            John Smith                  Email: (empty)
                                              Native: Author of the document
LAST_AUTHOR       Jane Doe                    Email: (empty)
                                              Native: Last Author of the document
DATE_CREATED      10/10/2010                  Email: (empty)
                                              Native: Date the document was created
TIME_CREATED/T 10:25 AM GMT                   Email: (empty)
IME_ZONE                                      Native: Time the document was created including time
                                              zone
                                              **This data must be a separate field and cannot be
DATE_MOD          10/12/2010                  Email: (empty)
                                              Native: Date the document was last modified
TIME_MOD/TIME_ 07:00 PM GMT                   Email: (empty)
ZONE                                          Native: Time the document was last modified
                                              including the time zone
                                              **This data must be a separate field and cannot be
DATE_ACCESSD      10/12/2010                  Email: (empty)
                                              Native: Date the document was last accessed
TIME_ACCESSD/T 07:00 PM GMT                   Email: (empty)
IME_ZONE                                      Native: Time the document was last accessed
                                              including the time zone
                                              **This data must be a separate field and cannot be
PRINTED_DATE      10/12/2010                  Email: (empty)
                                              Native: Date the document was last printed
FILE_SIZE         5,952                       Size of native file document/email in KB
PGCOUNT           1                           Number of pages in native file document/email
PATH              J:\Shared\SmithJ\October    Email: (empty)
                  Agenda.doc                  Native: Path where native file document was stored
                                              including original file name.
INTFILEPATH       Personal Folders\Deleted    Email: original location of email including original
                  Items\Board Meeting         file name.
                  Minutes.msg                 Native: (empty)
INTMSGID          <000805c2c71b$75977050$cb   Email: Unique Message ID
                  8306d1@MSN>                 Native: (empty)




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         HEADER               Return-Path:                     Email: The email header information
                              <example_from@dc.edu>            Native: (empty)
                              X-SpamCatcher-Score:1[X]
                              Received:from[136.167.40.119]
                              (HELO dc.edu)
                              by fe3.dc.edu (CommuniGate
                              Pro SMTP4.1.8)
                              with ESMTP-TLS id 61258719
                              for example_to@mail.dc.edu;
                              Mon, 23 Aug 2004 11:40:10 -
                              0400
                              Message-ID:
                              <4129F3CA.2020509@dc.edu>
                              Date: Mon, 23 Aug 2005
                              11:40:36 -400
                              From:        Taylor        Evans
                              <example_from@dc.edu>
                              User-Agent:Mozilla/5.0
                              (Windows;U; Windows NT 5.1;
                              en-US;rv:1.0.1)
                              Gecko/20020823 Netscape/7.0
                              X-Accept-Language:en-us,en
                              MIME-Version:1.0
                              To:           Jon          Smith
                              <example_to@mail.dc.edu>
                              Subject:Business Development
                              Meeting
                              Content-Type:
                              text/plain;charset=us-ascii;
                              format=flowed
                              Content-Transfer-Encoding:7bit
         MD5HASH              d131dd02c5e6eec4693d9a069       MD5 Hash value of the document.
                              8aff95c
                              2fcab58712467eab4004583eb
                              8fb7f89
         OCRPATH              TEXT/001/EDC0000001.txt         Path to extracted text of the native file




Sample Image Cross-Reference File:
           IMG0000001,,E:\001\IMG0000001.TIF,Y,,,
           IMG0000002,,E:\001\IMG0000002.TIF,,,,
           IMG0000003,,E:\001\IMG0000003.TIF,,,,
           IMG0000004,,E:\001\IMG0000004.TIF,Y,,,
           IMG0000005,,E:\001\IMG0000005.TIF,Y,,,
           IMG0000006,,E:\001\IMG0000006.TIF,,,,




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                                                         ADDENDUM B

For Electronic Phone Records, include the following fields in separate columns:

For Calls:

    1)    Account Number
    2)    Connection Date – Date the call was received or made
    3)    Connection Time – Time call was received or made
    4)    Seizure Time – Time it took for the call to be placed in seconds
    5)    Originating Number – Phone that placed the call
    6)    Terminating Number – Phone that received the call
    7)    Elapsed Time – The length of time the call lasted, preferably in seconds
    8)    End Time – The time the call ended
    9)    Number Dialed – Actual number dialed
    10)   IMEI Originating – Unique id to phone used to make call
    11)   IMEI Terminating– Unique id to phone used to receive call
    12)   IMSI Originating – Unique id to phone used to make call
    13)   IMSI Terminating- Unique id to phone used to receive call
    14)   Call Codes – Identify call direction or other routing information
    15)   Time Zone – Time Zone in which the call was received or placed, if applicable


For Text messages:

    1)    Account Number
    2)    Connection Date – Date the text was received or made
    3)    Connection Time – Time text was received or made
    4)    Originating Number – Who placed the text
    5)    Terminating Number – Who received the text
    6)    IMEI Originating – Unique id to phone used to make text
    7)    IMEI Terminating– Unique id to phone used to receive text
    8)    IMSI Originating - Unique id to phone used to make text
    9)    IMSI Terminating- Unique id to phone used to receive text
    10)   Text Code – Identify text direction, or other text routing information
    11)   Text Type Code – Type of text message (sent SMS, MMS, or other)
    12)   Time Zone – Time Zone in which the call was received or placed, if applicable


For Mobile Data Usage:

    1)    Account Number
    2)    Connection Date – Date the data was received or made
    3)    Connection Time – Time data was received or made
    4)    Originating number – Number that used data
    5)    IMEI Originating – Unique id of phone that used data
    6)    IMSI Originating - Unique id of phone that used data
    7)    Data or Data codes – Identify data direction, or other data routing information
    8)    Time Zone – Time Zone in which the call was received or placed, if applicable




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                           SECURITIES AND EXCHANGE COMMISSION
                                    Washington, D.C. 20549

                     Supplemental Information for Persons Requested to Supply
                     Information Voluntarily or Directed to Supply Information
                               Pursuant to a Commission Subpoena
A. False Statements and Documents
Section 1001 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
upon:
         [W]hoever, in any matter within the jurisdiction of the executive, legislative, or judicial branch of the
         Government of the United States, knowingly and willfully--
             (1) falsifies, conceals, or covers up by any trick, scheme, or device a material fact;
             (2) makes any materially false, fictitious, or fraudulent statement or representation; or
             (3) makes or uses any false writing or document knowing the same to contain any materially false,
             fictitious, or fraudulent statement or entry.

Section 1519 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
upon:
         Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in any
         record, document, or tangible object with the intent to impede, obstruct, or influence the investigation or
         proper administration of any matter within the jurisdiction of any department or agency of the United States
         . . ., or in relation to or contemplation of any such matter.
B. Testimony
If your testimony is taken, you should be aware of the following:
1.   Record. Your testimony will be transcribed by a reporter. If you desire to go off the record, please indicate this to
     the Commission employee taking your testimony, who will determine whether to grant your request. The reporter
     will not go off the record at your, or your counsel’s, direction.
2.   Counsel. You have the right to be accompanied, represented and advised by counsel of your choice. Your
     counsel may advise you before, during and after your testimony; question you briefly at the conclusion of your
     testimony to clarify any of the answers you give during testimony; and make summary notes during your
     testimony solely for your use. If you are accompanied by counsel, you may consult privately.
If you are not accompanied by counsel, please advise the Commission employee taking your testimony if, during the
testimony, you desire to be accompanied, represented and advised by counsel. Your testimony will be adjourned
once to afford you the opportunity to arrange to be so accompanied, represented or advised.
You may be represented by counsel who also represents other persons involved in the Commission’s investigation.
This multiple representation, however, presents a potential conflict of interest if one client’s interests are or may be
adverse to another’s. If you are represented by counsel who also represents other persons involved in the
investigation, the Commission will assume that you and counsel have discussed and resolved all issues concerning
possible conflicts of interest. The choice of counsel, and the responsibility for that choice, is yours.
3.   Transcript Availability. Rule 6 of the Commission’s Rules Relating to Investigations, 17 CFR 203.6, states:
     A person who has submitted documentary evidence or testimony in a formal investigative proceeding
     shall be entitled, upon written request, to procure a copy of his documentary evidence or a transcript of
     his testimony on payment of the appropriate fees: Provided, however, That in a nonpublic formal
     investigative proceeding the Commission may for good cause deny such request. In any event, any
     witness, upon proper identification, shall have the right to inspect the official transcript of the witness’
     own testimony.
If you wish to purchase a copy of the transcript of your testimony, the reporter will provide you with a copy of the
appropriate form. Persons requested to supply information voluntarily will be allowed the rights provided by this rule.
4. Perjury. Section 1621 of Title 18 of the United States Code provides that fines and terms of imprisonment may
be imposed upon:
         Whoever--
              (1) having taken an oath before a competent tribunal, officer, or person, in any case in which a law of
              the United States authorizes an oath to be administered, that he will testify, declare, depose, or certify

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             truly, or that any written testimony, declaration, deposition, or certificate by him subscribed, is true,
             willfully and contrary to such oath states or subscribes any material matter which he does not believe to
             be true; or
             (2) in any declaration, certificate, verification, or statement under penalty of perjury as permitted under
             section 1746 of title 28, United States Code, willfully subscribes as true any material matter which he
             does not believe to be true.
5. Fifth Amendment and Voluntary Testimony. Information you give may be used against you in any federal, state,
local or foreign administrative, civil or criminal proceeding brought by the Commission or any other agency.
You may refuse, in accordance with the rights guaranteed to you by the Fifth Amendment to the Constitution of the
United States, to give any information that may tend to incriminate you.
If your testimony is not pursuant to subpoena, your appearance to testify is voluntary, you need not answer any
question, and you may leave whenever you wish. Your cooperation is, however, appreciated.
6. Formal Order Availability. If the Commission has issued a formal order of investigation, it will be shown to you
during your testimony, at your request. If you desire a copy of the formal order, please make your request in writing.
C. Submissions and Settlements
Rule 5(c) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(c), states:
         Persons who become involved in . . . investigations may, on their own initiative, submit a written
         statement to the Commission setting forth their interests and position in regard to the subject matter
         of the investigation. Upon request, the staff, in its discretion, may advise such persons of the
         general nature of the investigation, including the indicated violations as they pertain to them, and
         the amount of time that may be available for preparing and submitting a statement prior to the
         presentation of a staff recommendation to the Commission for the commencement of an
         administrative or injunction proceeding. Submissions by interested persons should be forwarded to
         the appropriate Division Director or Regional Director with a copy to the staff members conducting
         the investigation and should be clearly referenced to the specific investigation to which they relate.
         In the event a recommendation for the commencement of an enforcement proceeding is presented
         by the staff, any submissions by interested persons will be forwarded to the Commission in
         conjunction with the staff memorandum.
The staff of the Commission routinely seeks to introduce submissions made pursuant to Rule 5(c) as evidence in
Commission enforcement proceedings, when the staff deems appropriate.
Rule 5(f) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(f), states:
         In the course of the Commission’s investigations, civil lawsuits, and administrative proceedings, the
         staff, with appropriate authorization, may discuss with persons involved the disposition of such
         matters by consent, by settlement, or in some other manner. It is the policy of the Commission,
         however, that the disposition of any such matter may not, expressly or impliedly, extend to any
         criminal charges that have been, or may be, brought against any such person or any
         recommendation with respect thereto. Accordingly, any person involved in an enforcement matter
         before the Commission who consents, or agrees to consent, to any judgment or order does so
         solely for the purpose of resolving the claims against him in that investigative, civil, or
         administrative matter and not for the purpose of resolving any criminal charges that have been, or
         might be, brought against him. This policy reflects the fact that neither the Commission nor its staff
         has the authority or responsibility for instituting, conducting, settling, or otherwise disposing of
         criminal proceedings. That authority and responsibility are vested in the Attorney General and
         representatives of the Department of Justice.
D. Freedom of Information Act
The Freedom of Information Act, 5 U.S.C. 552 (the “FOIA”), generally provides for disclosure of information to the
public. Rule 83 of the Commission’s Rules on Information and Requests, 17 CFR 200.83, provides a procedure by
which a person can make a written request that information submitted to the Commission not be disclosed under the
FOIA. That rule states that no determination as to the validity of such a request will be made until a request for
disclosure of the information under the FOIA is received. Accordingly, no response to a request that information not
be disclosed under the FOIA is necessary or will be given until a request for disclosure under the FOIA is received. If
you desire an acknowledgment of receipt of your written request that information not be disclosed under the FOIA,
please provide a duplicate request, together with a stamped, self-addressed envelope.




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E. Authority for Solicitation of Information
Persons Directed to Supply Information Pursuant to Subpoena. The authority for requiring production of information is
set forth in the subpoena. Disclosure of the information to the Commission is mandatory, subject to the valid assertion
of any legal right or privilege you might have.
Persons Requested to Supply Information Voluntarily. One or more of the following provisions authorizes the
Commission to solicit the information requested: Sections 19 and/or 20 of the Securities Act of 1933; Section 21 of
the Securities Exchange Act of 1934; Section 321 of the Trust Indenture Act of 1939; Section 42 of the Investment
Company Act of 1940; Section 209 of the Investment Advisers Act of 1940; and 17 CFR 202.5. Disclosure of the
requested information to the Commission is voluntary on your part.
F. Effect of Not Supplying Information
Persons Directed to Supply Information Pursuant to Subpoena. If you fail to comply with the subpoena, the
Commission may seek a court order requiring you to do so. If such an order is obtained and you thereafter fail to
supply the information, you may be subject to civil and/or criminal sanctions for contempt of court. In addition, Section
21(c) of the Securities Exchange Act of 1934, Section 42(c) of the Investment Company Act of 1940, and Section
209(c) of the Investment Advisers Act of 1940 provide that fines and terms of imprisonment may be imposed upon
any person who shall, without just cause, fail or refuse to attend and testify or to answer any lawful inquiry, or to
produce books, papers, correspondence, memoranda, and other records in compliance with the subpoena.
Persons Requested to Supply Information Voluntarily. There are no direct sanctions and thus no direct effects for
failing to provide all or any part of the requested information.
G. Principal Uses of Information
The Commission’s principal purpose in soliciting the information is to gather facts in order to determine whether any
person has violated, is violating, or is about to violate any provision of the federal securities laws or rules for which
the Commission has enforcement authority, such as rules of securities exchanges and the rules of the Municipal
Securities Rulemaking Board. Facts developed may, however, constitute violations of other laws or rules. Information
provided may be used in Commission and other agency enforcement proceedings. Unless the Commission or its staff
explicitly agrees to the contrary in writing, you should not assume that the Commission or its staff acquiesces in,
accedes to, or concurs or agrees with, any position, condition, request, reservation of right, understanding, or any
other statement that purports, or may be deemed, to be or to reflect a limitation upon the Commission’s receipt, use,
disposition, transfer, or retention, in accordance with applicable law, of information provided.
H. Routine Uses of Information
The Commission often makes its files available to other governmental agencies, particularly United States Attorneys
and state prosecutors. There is a likelihood that information supplied by you will be made available to such agencies
where appropriate. Whether or not the Commission makes its files available to other governmental agencies is, in
general, a confidential matter between the Commission and such other governmental agencies.
Set forth below is a list of the routine uses which may be made of the information furnished.
1. To appropriate agencies, entities, and persons when (a) it is suspected or confirmed that the security or
confidentiality of information in the system of records has been compromised; (b) the SEC has determined that, as a
result of the suspected or confirmed compromise, there is a risk of harm to economic or property interests, identity
theft or fraud, or harm to the security or integrity of this system or other systems or programs (whether maintained by
the SEC or another agency or entity) that rely upon the compromised information; and (c) the disclosure made to
such agencies, entities, and persons is reasonably necessary to assist in connection with the SEC’s efforts to
respond to the suspected or confirmed compromise and prevent, minimize, or remedy such harm.
2. To other federal, state, local, or foreign law enforcement agencies; securities self-regulatory organizations; and
foreign financial regulatory authorities to assist in or coordinate regulatory or law enforcement activities with the SEC.
3. To national securities exchanges and national securities associations that are registered with the SEC, the
Municipal Securities Rulemaking Board; the Securities Investor Protection Corporation; the Public Company
Accounting Oversight Board; the federal banking authorities, including, but not limited to, the Board of Governors of
the Federal Reserve System, the Comptroller of the Currency, and the Federal Deposit Insurance Corporation; state
securities regulatory agencies or organizations; or regulatory authorities of a foreign government in connection with
their regulatory or enforcement responsibilities.
4. By SEC personnel for purposes of investigating possible violations of, or to conduct investigations authorized by,
the federal securities laws.
5. In any proceeding where the federal securities laws are in issue or in which the Commission, or past or present
members of its staff, is a party or otherwise involved in an official capacity.




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6. In connection with proceedings by the Commission pursuant to Rule 102(e) of its Rules of Practice, 17 CFR
201.102(e).
7. To a bar association, state accountancy board, or other federal, state, local, or foreign licensing or oversight
authority; or professional association or self-regulatory authority to the extent that it performs similar functions
(including the Public Company Accounting Oversight Board) for investigations or possible disciplinary action.
8. To a federal, state, local, tribal, foreign, or international agency, if necessary to obtain information relevant to the
SEC’s decision concerning the hiring or retention of an employee; the issuance of a security clearance; the letting of
a contract; or the issuance of a license, grant, or other benefit.
9. To a federal, state, local, tribal, foreign, or international agency in response to its request for information
concerning the hiring or retention of an employee; the issuance of a security clearance; the reporting of an
investigation of an employee; the letting of a contract; or the issuance of a license, grant, or other benefit by the
requesting agency, to the extent that the information is relevant and necessary to the requesting agency's decision on
the matter.
10. To produce summary descriptive statistics and analytical studies, as a data source for management information,
in support of the function for which the records are collected and maintained or for related personnel management
functions or manpower studies; may also be used to respond to general requests for statistical information (without
personal identification of individuals) under the Freedom of Information Act.
11. To any trustee, receiver, master, special counsel, or other individual or entity that is appointed by a court of
competent jurisdiction, or as a result of an agreement between the parties in connection with litigation or
administrative proceedings involving allegations of violations of the federal securities laws (as defined in section
3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)) or pursuant to the Commission’s Rules of
Practice, 17 CFR 201.100 – 900 or the Commission’s Rules of Fair Fund and Disgorgement Plans, 17 CFR
201.1100-1106, or otherwise, where such trustee, receiver, master, special counsel, or other individual or entity is
specifically designated to perform particular functions with respect to, or as a result of, the pending action or
proceeding or in connection with the administration and enforcement by the Commission of the federal securities laws
or the Commission’s Rules of Practice or the Rules of Fair Fund and Disgorgement Plans.
12. To any persons during the course of any inquiry, examination, or investigation conducted by the SEC’s staff, or in
connection with civil litigation, if the staff has reason to believe that the person to whom the record is disclosed may
have further information about the matters related therein, and those matters appeared to be relevant at the time to
the subject matter of the inquiry.
13. To interns, grantees, experts, contractors, and others who have been engaged by the Commission to assist in
the performance of a service related to this system of records and who need access to the records for the purpose of
assisting the Commission in the efficient administration of its programs, including by performing clerical,
stenographic, or data analysis functions, or by reproduction of records by electronic or other means. Recipients of
these records shall be required to comply with the requirements of the Privacy Act of 1974, as amended, 5 U.S.C.
552a.
14. In reports published by the Commission pursuant to authority granted in the federal securities laws (as such term
is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), which authority shall
include, but not be limited to, section 21(a) of the Securities Exchange Act of 1934, 15 U.S.C. 78u(a)).
15. To members of advisory committees that are created by the Commission or by Congress to render advice and
recommendations to the Commission or to Congress, to be used solely in connection with their official designated
functions.
16. To any person who is or has agreed to be subject to the Commission’s Rules of Conduct, 17 CFR 200.735-1 to
200.735-18, and who assists in the investigation by the Commission of possible violations of the federal securities
laws (as such term is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), in the
preparation or conduct of enforcement actions brought by the Commission for such violations, or otherwise in
connection with the Commission’s enforcement or regulatory functions under the federal securities laws.
17. To a Congressional office from the record of an individual in response to an inquiry from the Congressional office
made at the request of that individual.
18. To members of Congress, the press, and the public in response to inquiries relating to particular Registrants and
their activities, and other matters under the Commission’s jurisdiction.
19. To prepare and publish information relating to violations of the federal securities laws as provided in 15 U.S.C.
78c(a)(47)), as amended.
20. To respond to subpoenas in any litigation or other proceeding.
21. To a trustee in bankruptcy.



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22. To any governmental agency, governmental or private collection agent, consumer reporting agency or
commercial reporting agency, governmental or private employer of a debtor, or any other person, for collection,
including collection by administrative offset, federal salary offset, tax refund offset, or administrative wage
garnishment, of amounts owed as a result of Commission civil or administrative proceedings.

                                                     *****
Small Business Owners: The SEC always welcomes comments on how it can better assist small businesses. If you
would like more information, or have questions or comments about federal securities regulations as they affect small
businesses, please contact the Office of Small Business Policy, in the SEC’s Division of Corporation Finance, at 202-
551-3460. If you would prefer to comment to someone outside of the SEC, you can contact the Small Business
Regulatory Enforcement Ombudsman at http://www.sba.gov/ombudsman or toll free at 888-REG-FAIR. The
Ombudsman’s office receives comments from small businesses and annually evaluates federal agency enforcement
activities for their responsiveness to the special needs of small business.




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[FOR DOMESTIC U.S. RECORDS]

               DECLARATION OF [Insert Name] CERTIFYING RECORDS
                OF REGULARLY CONDUCTED BUSINESS ACTIVITY

I, the undersigned, [insert name], pursuant to 28 U.S.C. § 1746, declare that:

   1. I am employed by [insert name of company] as [insert position] and by reason of my
      position am authorized and qualified to make this declaration. [if possible supply
      additional information as to how person is qualified to make declaration, e.g., I am
      custodian of records, I am familiar with the company’s recordkeeping practices or
      systems, etc.]

   2. I further certify that the documents [attached hereto or submitted herewith] and stamped
      [insert bates range] are true copies of records that were:

       (a) made at or near the time of the occurrence of the matters set forth therein, by, or from
       information transmitted by, a person with knowledge of those matters;

       (b) kept in the course of regularly conducted business activity; and

       (c) made by the regularly conducted business activity as a regular practice.

I declare under penalty of perjury that the foregoing is true and correct. Executed on
[date].



                                       ____________________________
                                            [Name]
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                                                                       U.S. Securities and Exchange Commission

                                                                                            Data Delivery Standards


This document describes the technical requirements for paper and electronic document productions to the U.S.
Securities and Exchange Commission (SEC). **Any questions or proposed file formats other than those
described below must be discussed with the legal and technical staff of the SEC Division of Enforcement
prior to submission.**

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General Instructions

Electronic files must be produced in their native format, i.e. the format in which they are ordinarily used and maintained during the
normal course of business. For example, an MS Excel file must be produced as an MS Excel file rather than an image of a
spreadsheet. (Note: An Adobe PDF file is not considered a native file unless the document was initially created as a PDF.)

In the event produced files require the use of proprietary software not commonly found in the workplace, the SEC will explore
other format options with the producing party.

The proposed use of file de-duplication methodologies or computer-assisted review or technology-assisted review (TAR) during
the processing of documents must be discussed with and approved by the legal and technical staff of the Division of
Enforcement (ENF). If your production will be de-duplicated it is vital that you 1) preserve any unique metadata associated with
the duplicate files, for example, custodian name and file location and, 2) make that unique metadata part of your production to
the SEC.


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General requirements for ALL document productions are:

  1.     A cover letter must be included with each production and should include the following information:
              a. Case number, case name and requesting SEC staff member name
              b. A list of each piece of media included in the production with its unique production volume number
              c. A list of custodians, identifying the Bates range for each custodian
              d. The time zone in which the emails were standardized during conversion
              e. Whether the production contains native files produced from Mac operating system environments
  2.     Data can be produced on CD, DVD, thumb drive, etc., using the media requiring the least number of deliverables and
         labeled with the following:
              a. Case number
              b. Production date
              c. Producing party
              d. Bates range (if applicable)
  3.     All submissions must be organized by custodian unless otherwise instructed.
  4.     All document family groups, i.e. email attachments, embedded files, etc., should be produced together and children files
         should follow parent files sequentially in the Bates numbering.
  5.     All load-ready collections should include only one data load file and one image pointer file.
  6.     All load-ready text must be produced as separate document-level text files.
  7.     All load-ready collections should account for custodians in the custodian field.
  8.     All load-ready collections must provide the extracted contents of any container files to ensure all relevant files are produced
         as separate records.
  9.     Audio files should be separated from data files if both are included in the production.
  10.    Only alphanumeric characters and the underscore character are permitted in file names and folder names. Special characters
         are not permitted.
  11.    All electronic productions submitted on media must be produced using industry standard self-extracting encryption
         software.
  12.    Electronic productions may be submitted via Secure File Transfer. The SEC cannot accept productions made using file
         sharing sites such as Google Drive, Microsoft Office 365 or Dropbox.
  13.    Productions containing BSA or SAR material must be delivered on encrypted physical media. The SEC cannot accept
         electronic transmission of BSA or SAR material. Any BSA or SAR material produced should be segregated and
         appropriately marked as BSA or SAR material, or should be produced separately from other case related material.
  14.    Passwords for electronic documents, files, compressed archives and encrypted media must be provided separately either via
         email or in a cover letter apart from the media.
  15.    All electronic productions should be produced free of computer viruses.
  16.    Before producing forensically collected images, parties should reach out to the requesting SEC staff member in order to
         discuss appropriate handling.
  17.    Before producing unique data sets (large sets of relational data, website reconstruction, chat room data, etc.), parties should
         reach out to the requesting SEC staff member in order to discuss an appropriate production format.
  18.    Additional technical descriptions can be found in the addendum to this document.

        *Please note that productions sent to the SEC via United States Postal Service are subject to Mail Irradiation, and as
        a result electronic productions may be damaged.*




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Delivery Formats

I.   Imaged Productions
     The SEC prefers that all scanned paper and electronic file collections be produced in a structured format including industry
     standard load files, Bates numbered image files, native files and searchable document-level text files.

     1.   Images
             a.     Black and white images must be 300 DPI Group IV single-page TIFF files
             b.     Color images must be produced in JPEG format
             c.     File names cannot contain embedded spaces or special characters (including the comma)
             d.     Folder names cannot contain embedded spaces or special characters (including the comma)
             e.     All image files must have a unique file name, i.e. Bates number
             f.     Images must be endorsed with sequential Bates numbers in the lower right corner of each image
             g.     The number of image files per folder should not exceed 2,000 files
             h.     Excel spreadsheets should have a placeholder image named by the Bates number of the file
             i.     AUTOCAD/photograph files should be produced as a single page JPEG file

     2.    Image Cross-Reference File
           The image cross-reference file (.LOG or .OPT) links the images to the database records. It should be a comma-delimited
           file consisting of seven fields per line with a line in the cross-reference file for every image in the database with the
           following format:
                  ImageID,VolumeLabel,ImageFilePath,DocumentBreak,FolderBreak,BoxBreak,PageCount

     3. Data File
        The data file (.DAT) contains all of the fielded information that will be loaded into the database.

          a.   The first line of the .DAT file must be a header row identifying the field names
          b.   The .DAT file must use the following Concordance® default delimiters:
                   Comma ASCII character (020)
                   Quote þ ASCII character (254)
          c.   If the .DAT file is produced in Unicode format it must contain the byte order marker
          d.   Date fields should be provided in the format: mm/dd/yyyy
          e.   Date and time fields must be two separate fields
          f.   The time zone must be included in all time fields
          g.   If the production includes imaged emails and attachments, the attachment fields must be included to preserve the
               parent/child relationship between an email and its attachments
          h.   An OCRPATH field must be included to provide the file path and name of the extracted text file on the produced
               storage media. The text file must be named after the FIRSTBATES. Do not include the text in the .DAT file.
          i.   For productions with native files, a LINK field must be included to provide the file path and name of the native file
               on the produced storage media. The native file must be named after the FIRSTBATES.
          h.   BEGATTACH and ENDATTACH fields must be two separate fields
          i.   A complete list of metadata fields is available in Addendum A to this document

     4. Text
        Text must be produced as separate document-level text files, not as fields within the .DAT file. The text files must be named
        per the FIRSTBATES/Image Key and the full path to the text file (OCRPATH) should be included in the .DAT file. Text files
        may be in either ANSI or Unicode format, however, ALL text files must be in the same format within the same production.
        Note that productions containing text with foreign characters must produce text files in Unicode format to preserve the foreign
        characters. Text files must be in a separate folder, and the number of text files per folder should not exceed 2,000 files.
        There should be no special characters (including commas) in the folder names. For redacted documents, provide the full
        text for the redacted version.

     5.    Linked Native Files
           Copies of original email and native file documents/attachments must be included for all electronic productions.
           a. Native file documents must be named per the FIRSTBATES number
           b. The full path of the native file must be provided in the .DAT file for the LINK field
           c. The number of native files per folder should not exceed 2,000 files




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 II.   Native File Production without Load Files
       With prior approval, native files may be produced without load files. The native files must be produced as they are maintained
       in the normal course of business and organized by custodian-named file folders. When approved, Outlook (.PST) and Lotus
       Notes (.NSF) email files may be produced in native file format. A separate folder should be provided for each custodian.

III.   Adobe PDF File Production
       With prior approval, Adobe PDF files may be produced in native file format.
           1. All PDFs must be unitized at the document level, i.e., each PDF must represent a discrete document.
           2. PDF files should be produced in separate folders named by the custodian. The folders should not contain any
               special characters (including commas).
           3. All PDF files must contain embedded text that includes all discernible words within the document, not selected text
               or image only. This requires all layers of the PDF to be flattened first.
           4. If PDF files are Bates endorsed, the PDF files must be named by the Bates range.

 IV. Audio Files
     Audio files from telephone recording systems must be produced in a format that is playable using Microsoft Windows
     Media Player™. Additionally, the call information (metadata) related to each audio recording MUST be provided. The
     metadata file must be produced in a delimited text format. Field names must be included in the first row of the text file.
     The metadata must include, at a minimum, the following fields:
             1)   Caller Name:          Caller’s name or account/identification number
             2)   Originating Number:   Caller’s phone number
             3)   Called Party Name:    Called party’s name
             4)   Terminating Number:   Called party’s phone number
             5)   Date:                 Date of call
             6)   Time:                 Time of call
             7)   Filename:             Filename of audio file

 V.     Video Files
        Video files must be produced in a format that is playable using Microsoft Windows Media Player™.

 VI.    Electronic Trade and Bank Records
        When producing electronic trade records, bank records, or financial statements, provide the files in one of the following
        formats:

        1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
             separate document must be provided that details all such codes. If details of the field structure do not fit in the header,
             a separate document must be provided that includes such details.

        2.   Delimited text file with header information detailing the field structure. The preferred delimiter is a vertical bar “|”. If
             any special codes exist in the dataset, a separate document must be provided that details all such codes. If details of the
             field structure do not fit in the header, a separate document must be provided that includes such details.

  VII. Electronic Phone Records
       When producing electronic phone records, provide the files in the following format:

        1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
             separate document must be provided that details all such codes. If details of the field structure do not fit in the header,
             a separate document must be provided that includes such details. Data must be formatted in its native format (i.e.
             dates in a date format, numbers in an appropriate numerical format, and numbers with leading zeroes as text).
                 a. The metadata that must be included is outlined in Addendum B of this document. Each field of data must be
                       loaded into a separate column. For example, Date and Start_Time must be produced in separate columns and
                       not combined into a single column containing both pieces of information. Any fields of data that are provided
                       in addition to those listed in Addendum B must also be loaded into separate columns.




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VIII. Audit Workpapers
      The SEC prefers for workpapers to be produced in two formats: (1) With Bates numbers in accordance with the SEC Data
      Delivery Standards; and (2) in native format or if proprietary software was used, on a standalone laptop with the
      appropriate software loaded so that the workpapers may be reviewed as they would have been maintained in the ordinary
      course of business. When possible, the laptop should be configured to enable a Virtual Machine (VM) environment.

IX. Mobile Device Data
     Before producing mobile device data (including but not limited to text messages) parties should reach out to the
     requesting SEC staff member in order to discuss the appropriate production format.




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                                                     ADDENDUM A


The metadata of electronic document collections should be extracted and provided in a .DAT file using the field definition and
formatting described below:


         Field Name            Sample Data                    Description
         FIRSTBATES            EDC0000001                     First Bates number of native file document/email
         LASTBATES             EDC0000001                     Last Bates number of native file document/email
                                                              **The LASTBATES field should be populated
                                                                 for single page documents/emails.
         ATTACHRANGE           EDC0000001 - EDC0000015        Bates number of the first page of the parent
                                                              document to the Bates number of the last page of the
                                                              last attachment “child” document
         BEGATTACH             EDC0000001                     First Bates number of attachment range
         ENDATTACH             EDC0000015                     Last Bates number of attachment range
         PARENT_BATES          EDC0000001                     First Bates number of parent document/Email
                                                              **This PARENT_BATES field should be populated
                                                                 in each record representing an attachment “child”
                                                                 document
         CHILD_BATES           EDC0000002; EDC0000014         First Bates number of “child” attachment(s); can be
                                                              more than one Bates number listed depending on the
                                                              number of attachments
                                                              **The CHILD_BATES field should be populated in
                                                                 each record representing a “parent” document
         CUSTODIAN             Smith, John                    Email: Mailbox where the email resided
                                                              Native: Name of the individual or department from
                                                              whose files the document originated
         FROM                  John Smith                     Email: Sender
                                                              Native: Author(s) of document
                                                              **semi-colon should be used to separate multiple
                                                                entries
         TO                    Coffman, Janice; LeeW          Recipient(s)
                               [mailto:LeeW@MSN.com]          **semi-colon should be used to separate multiple
                                                                entries
         CC                    Frank Thompson [mailto:        Carbon copy recipient(s)
                               frank_Thompson@cdt.com]        **semi-colon should be used to separate multiple
                                                                entries
         BCC                   John Cain                      Blind carbon copy recipient(s)
                                                              **semi-colon should be used to separate multiple
                                                                entries
         SUBJECT               Board Meeting Minutes          Email: Subject line of the email
                                                              Native: Title of document (if available)
         FILE_NAME             BoardMeetingMinutes.docx       Native: Name of the original native file, including
                                                              extension
         DATE_SENT             10/12/2010                     Email: Date the email was sent
                                                              Native: (empty)
         TIME_SENT/TIME 07:05 PM GMT                          Email: Time the email was sent/ Time zone in which
         _ZONE                                                the emails were standardized during conversion.
                                                              Native: (empty)
                                                              **This data must be a separate field and cannot be
                                                                combined with the DATE_SENT field
         TIME_ZONE             GMT                            The time zone in which the emails were standardized
                                                              during conversion.
                                                              Email: Time zone
                                                              Native: (empty)

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LINK            D:\001\ EDC0000001 msg      Hyperlink to the email or native file document
                                            **The linked file must be named per the
                                               FIRSTBATES number
MIME_TYPE       application/msword          The content type of an email or native file document
                                            as identified/extracted from the header
FILE_EXTEN      MSG                         The file type extension representing the email or
                                            native file document; will vary depending on the
                                            format
AUTHOR          John Smith                  Email: (empty)
                                            Native: Author of the document
LAST_AUTHOR     Jane Doe                    Email: (empty)
                                            Native: Last Author of the document
DATE_CREATED    10/10/2010                  Email: (empty)
                                            Native: Date the document was created
TIME_CREATED/T 10:25 AM GMT                 Email: (empty)
IME_ZONE                                    Native: Time the document was created including time
                                            zone
                                            **This data must be a separate field and cannot be
DATE_MOD        10/12/2010                  Email: (empty)
                                            Native: Date the document was last modified
TIME_MOD/TIME_ 07:00 PM GMT                 Email: (empty)
ZONE                                        Native: Time the document was last modified
                                            including the time zone
                                            **This data must be a separate field and cannot be
DATE_ACCESSD    10/12/2010                  Email: (empty)
                                            Native: Date the document was last accessed
TIME_ACCESSD/T 07:00 PM GMT                 Email: (empty)
IME_ZONE                                    Native: Time the document was last accessed
                                            including the time zone
                                            **This data must be a separate field and cannot be
PRINTED_DATE    10/12/2010                  Email: (empty)
                                            Native: Date the document was last printed
FILE_SIZE       5,952                       Size of native file document/email in KB
PGCOUNT         1                           Number of pages in native file document/email
PATH            J:\Shared\SmithJ\October    Email: (empty)
                Agenda.doc                  Native: Path where native file document was stored
                                            including original file name.
INTFILEPATH     Personal Folders\Deleted    Email: original location of email including original
                Items\Board Meeting         file name.
                Minutes.msg                 Native: (empty)
INTMSGID        <000805c2c71b$75977050$cb   Email: Unique Message ID
                8306d1@MSN>                 Native: (empty)




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         HEADER               Return-Path:                     Email: The email header information
                              <example_from@dc.edu>            Native: (empty)
                              X-SpamCatcher-Score:1[X]
                              Received:from[136.167.40.119]
                              (HELO dc.edu)
                              by fe3.dc.edu (CommuniGate
                              Pro SMTP4.1.8)
                              with ESMTP-TLS id 61258719
                              for example_to@mail.dc.edu;
                              Mon, 23 Aug 2004 11:40:10 -
                              0400
                              Message-ID:
                              <4129F3CA.2020509@dc.edu>
                              Date: Mon, 23 Aug 2005
                              11:40:36 -400
                              From:        Taylor        Evans
                              <example_from@dc.edu>
                              User-Agent:Mozilla/5.0
                              (Windows;U; Windows NT 5.1;
                              en-US;rv:1.0.1)
                              Gecko/20020823 Netscape/7.0
                              X-Accept-Language:en-us,en
                              MIME-Version:1.0
                              To:           Jon          Smith
                              <example_to@mail.dc.edu>
                              Subject:Business Development
                              Meeting
                              Content-Type:
                              text/plain;charset=us-ascii;
                              format=flowed
                              Content-Transfer-Encoding:7bit
         MD5HASH              d131dd02c5e6eec4693d9a069       MD5 Hash value of the document.
                              8aff95c
                              2fcab58712467eab4004583eb
                              8fb7f89
         OCRPATH              TEXT/001/EDC0000001.txt         Path to extracted text of the native file




Sample Image Cross-Reference File:
           IMG0000001,,E:\001\IMG0000001.TIF,Y,,,
           IMG0000002,,E:\001\IMG0000002.TIF,,,,
           IMG0000003,,E:\001\IMG0000003.TIF,,,,
           IMG0000004,,E:\001\IMG0000004.TIF,Y,,,
           IMG0000005,,E:\001\IMG0000005.TIF,Y,,,
           IMG0000006,,E:\001\IMG0000006.TIF,,,,




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                                                         ADDENDUM B

For Electronic Phone Records, include the following fields in separate columns:

For Calls:

    1)    Account Number
    2)    Connection Date – Date the call was received or made
    3)    Connection Time – Time call was received or made
    4)    Seizure Time – Time it took for the call to be placed in seconds
    5)    Originating Number – Phone that placed the call
    6)    Terminating Number – Phone that received the call
    7)    Elapsed Time – The length of time the call lasted, preferably in seconds
    8)    End Time – The time the call ended
    9)    Number Dialed – Actual number dialed
    10)   IMEI Originating – Unique id to phone used to make call
    11)   IMEI Terminating– Unique id to phone used to receive call
    12)   IMSI Originating – Unique id to phone used to make call
    13)   IMSI Terminating- Unique id to phone used to receive call
    14)   Call Codes – Identify call direction or other routing information
    15)   Time Zone – Time Zone in which the call was received or placed, if applicable


For Text messages:

    1)    Account Number
    2)    Connection Date – Date the text was received or made
    3)    Connection Time – Time text was received or made
    4)    Originating Number – Who placed the text
    5)    Terminating Number – Who received the text
    6)    IMEI Originating – Unique id to phone used to make text
    7)    IMEI Terminating– Unique id to phone used to receive text
    8)    IMSI Originating - Unique id to phone used to make text
    9)    IMSI Terminating- Unique id to phone used to receive text
    10)   Text Code – Identify text direction, or other text routing information
    11)   Text Type Code – Type of text message (sent SMS, MMS, or other)
    12)   Time Zone – Time Zone in which the call was received or placed, if applicable


For Mobile Data Usage:

    1)    Account Number
    2)    Connection Date – Date the data was received or made
    3)    Connection Time – Time data was received or made
    4)    Originating number – Number that used data
    5)    IMEI Originating – Unique id of phone that used data
    6)    IMSI Originating - Unique id of phone that used data
    7)    Data or Data codes – Identify data direction, or other data routing information
    8)    Time Zone – Time Zone in which the call was received or placed, if applicable




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                           SECURITIES AND EXCHANGE COMMISSION
                                    Washington, D.C. 20549

                     Supplemental Information for Persons Requested to Supply
                     Information Voluntarily or Directed to Supply Information
                               Pursuant to a Commission Subpoena
A. False Statements and Documents
Section 1001 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
upon:
         [W]hoever, in any matter within the jurisdiction of the executive, legislative, or judicial branch of the
         Government of the United States, knowingly and willfully--
             (1) falsifies, conceals, or covers up by any trick, scheme, or device a material fact;
             (2) makes any materially false, fictitious, or fraudulent statement or representation; or
             (3) makes or uses any false writing or document knowing the same to contain any materially false,
             fictitious, or fraudulent statement or entry.

Section 1519 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed
upon:
         Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in any
         record, document, or tangible object with the intent to impede, obstruct, or influence the investigation or
         proper administration of any matter within the jurisdiction of any department or agency of the United States
         . . ., or in relation to or contemplation of any such matter.
B. Testimony
If your testimony is taken, you should be aware of the following:
1.   Record. Your testimony will be transcribed by a reporter. If you desire to go off the record, please indicate this to
     the Commission employee taking your testimony, who will determine whether to grant your request. The reporter
     will not go off the record at your, or your counsel’s, direction.
2.   Counsel. You have the right to be accompanied, represented and advised by counsel of your choice. Your
     counsel may advise you before, during and after your testimony; question you briefly at the conclusion of your
     testimony to clarify any of the answers you give during testimony; and make summary notes during your
     testimony solely for your use. If you are accompanied by counsel, you may consult privately.
If you are not accompanied by counsel, please advise the Commission employee taking your testimony if, during the
testimony, you desire to be accompanied, represented and advised by counsel. Your testimony will be adjourned
once to afford you the opportunity to arrange to be so accompanied, represented or advised.
You may be represented by counsel who also represents other persons involved in the Commission’s investigation.
This multiple representation, however, presents a potential conflict of interest if one client’s interests are or may be
adverse to another’s. If you are represented by counsel who also represents other persons involved in the
investigation, the Commission will assume that you and counsel have discussed and resolved all issues concerning
possible conflicts of interest. The choice of counsel, and the responsibility for that choice, is yours.
3.   Transcript Availability. Rule 6 of the Commission’s Rules Relating to Investigations, 17 CFR 203.6, states:
     A person who has submitted documentary evidence or testimony in a formal investigative proceeding
     shall be entitled, upon written request, to procure a copy of his documentary evidence or a transcript of
     his testimony on payment of the appropriate fees: Provided, however, That in a nonpublic formal
     investigative proceeding the Commission may for good cause deny such request. In any event, any
     witness, upon proper identification, shall have the right to inspect the official transcript of the witness’
     own testimony.
If you wish to purchase a copy of the transcript of your testimony, the reporter will provide you with a copy of the
appropriate form. Persons requested to supply information voluntarily will be allowed the rights provided by this rule.
4. Perjury. Section 1621 of Title 18 of the United States Code provides that fines and terms of imprisonment may
be imposed upon:
         Whoever--
              (1) having taken an oath before a competent tribunal, officer, or person, in any case in which a law of
              the United States authorizes an oath to be administered, that he will testify, declare, depose, or certify

SEC 1662 (08-16)
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             truly, or that any written testimony, declaration, deposition, or certificate by him subscribed, is true,
             willfully and contrary to such oath states or subscribes any material matter which he does not believe to
             be true; or
             (2) in any declaration, certificate, verification, or statement under penalty of perjury as permitted under
             section 1746 of title 28, United States Code, willfully subscribes as true any material matter which he
             does not believe to be true.
5. Fifth Amendment and Voluntary Testimony. Information you give may be used against you in any federal, state,
local or foreign administrative, civil or criminal proceeding brought by the Commission or any other agency.
You may refuse, in accordance with the rights guaranteed to you by the Fifth Amendment to the Constitution of the
United States, to give any information that may tend to incriminate you.
If your testimony is not pursuant to subpoena, your appearance to testify is voluntary, you need not answer any
question, and you may leave whenever you wish. Your cooperation is, however, appreciated.
6. Formal Order Availability. If the Commission has issued a formal order of investigation, it will be shown to you
during your testimony, at your request. If you desire a copy of the formal order, please make your request in writing.
C. Submissions and Settlements
Rule 5(c) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(c), states:
         Persons who become involved in . . . investigations may, on their own initiative, submit a written
         statement to the Commission setting forth their interests and position in regard to the subject matter
         of the investigation. Upon request, the staff, in its discretion, may advise such persons of the
         general nature of the investigation, including the indicated violations as they pertain to them, and
         the amount of time that may be available for preparing and submitting a statement prior to the
         presentation of a staff recommendation to the Commission for the commencement of an
         administrative or injunction proceeding. Submissions by interested persons should be forwarded to
         the appropriate Division Director or Regional Director with a copy to the staff members conducting
         the investigation and should be clearly referenced to the specific investigation to which they relate.
         In the event a recommendation for the commencement of an enforcement proceeding is presented
         by the staff, any submissions by interested persons will be forwarded to the Commission in
         conjunction with the staff memorandum.
The staff of the Commission routinely seeks to introduce submissions made pursuant to Rule 5(c) as evidence in
Commission enforcement proceedings, when the staff deems appropriate.
Rule 5(f) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(f), states:
         In the course of the Commission’s investigations, civil lawsuits, and administrative proceedings, the
         staff, with appropriate authorization, may discuss with persons involved the disposition of such
         matters by consent, by settlement, or in some other manner. It is the policy of the Commission,
         however, that the disposition of any such matter may not, expressly or impliedly, extend to any
         criminal charges that have been, or may be, brought against any such person or any
         recommendation with respect thereto. Accordingly, any person involved in an enforcement matter
         before the Commission who consents, or agrees to consent, to any judgment or order does so
         solely for the purpose of resolving the claims against him in that investigative, civil, or
         administrative matter and not for the purpose of resolving any criminal charges that have been, or
         might be, brought against him. This policy reflects the fact that neither the Commission nor its staff
         has the authority or responsibility for instituting, conducting, settling, or otherwise disposing of
         criminal proceedings. That authority and responsibility are vested in the Attorney General and
         representatives of the Department of Justice.
D. Freedom of Information Act
The Freedom of Information Act, 5 U.S.C. 552 (the “FOIA”), generally provides for disclosure of information to the
public. Rule 83 of the Commission’s Rules on Information and Requests, 17 CFR 200.83, provides a procedure by
which a person can make a written request that information submitted to the Commission not be disclosed under the
FOIA. That rule states that no determination as to the validity of such a request will be made until a request for
disclosure of the information under the FOIA is received. Accordingly, no response to a request that information not
be disclosed under the FOIA is necessary or will be given until a request for disclosure under the FOIA is received. If
you desire an acknowledgment of receipt of your written request that information not be disclosed under the FOIA,
please provide a duplicate request, together with a stamped, self-addressed envelope.




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E. Authority for Solicitation of Information
Persons Directed to Supply Information Pursuant to Subpoena. The authority for requiring production of information is
set forth in the subpoena. Disclosure of the information to the Commission is mandatory, subject to the valid assertion
of any legal right or privilege you might have.
Persons Requested to Supply Information Voluntarily. One or more of the following provisions authorizes the
Commission to solicit the information requested: Sections 19 and/or 20 of the Securities Act of 1933; Section 21 of
the Securities Exchange Act of 1934; Section 321 of the Trust Indenture Act of 1939; Section 42 of the Investment
Company Act of 1940; Section 209 of the Investment Advisers Act of 1940; and 17 CFR 202.5. Disclosure of the
requested information to the Commission is voluntary on your part.
F. Effect of Not Supplying Information
Persons Directed to Supply Information Pursuant to Subpoena. If you fail to comply with the subpoena, the
Commission may seek a court order requiring you to do so. If such an order is obtained and you thereafter fail to
supply the information, you may be subject to civil and/or criminal sanctions for contempt of court. In addition, Section
21(c) of the Securities Exchange Act of 1934, Section 42(c) of the Investment Company Act of 1940, and Section
209(c) of the Investment Advisers Act of 1940 provide that fines and terms of imprisonment may be imposed upon
any person who shall, without just cause, fail or refuse to attend and testify or to answer any lawful inquiry, or to
produce books, papers, correspondence, memoranda, and other records in compliance with the subpoena.
Persons Requested to Supply Information Voluntarily. There are no direct sanctions and thus no direct effects for
failing to provide all or any part of the requested information.
G. Principal Uses of Information
The Commission’s principal purpose in soliciting the information is to gather facts in order to determine whether any
person has violated, is violating, or is about to violate any provision of the federal securities laws or rules for which
the Commission has enforcement authority, such as rules of securities exchanges and the rules of the Municipal
Securities Rulemaking Board. Facts developed may, however, constitute violations of other laws or rules. Information
provided may be used in Commission and other agency enforcement proceedings. Unless the Commission or its staff
explicitly agrees to the contrary in writing, you should not assume that the Commission or its staff acquiesces in,
accedes to, or concurs or agrees with, any position, condition, request, reservation of right, understanding, or any
other statement that purports, or may be deemed, to be or to reflect a limitation upon the Commission’s receipt, use,
disposition, transfer, or retention, in accordance with applicable law, of information provided.
H. Routine Uses of Information
The Commission often makes its files available to other governmental agencies, particularly United States Attorneys
and state prosecutors. There is a likelihood that information supplied by you will be made available to such agencies
where appropriate. Whether or not the Commission makes its files available to other governmental agencies is, in
general, a confidential matter between the Commission and such other governmental agencies.
Set forth below is a list of the routine uses which may be made of the information furnished.
1. To appropriate agencies, entities, and persons when (a) it is suspected or confirmed that the security or
confidentiality of information in the system of records has been compromised; (b) the SEC has determined that, as a
result of the suspected or confirmed compromise, there is a risk of harm to economic or property interests, identity
theft or fraud, or harm to the security or integrity of this system or other systems or programs (whether maintained by
the SEC or another agency or entity) that rely upon the compromised information; and (c) the disclosure made to
such agencies, entities, and persons is reasonably necessary to assist in connection with the SEC’s efforts to
respond to the suspected or confirmed compromise and prevent, minimize, or remedy such harm.
2. To other federal, state, local, or foreign law enforcement agencies; securities self-regulatory organizations; and
foreign financial regulatory authorities to assist in or coordinate regulatory or law enforcement activities with the SEC.
3. To national securities exchanges and national securities associations that are registered with the SEC, the
Municipal Securities Rulemaking Board; the Securities Investor Protection Corporation; the Public Company
Accounting Oversight Board; the federal banking authorities, including, but not limited to, the Board of Governors of
the Federal Reserve System, the Comptroller of the Currency, and the Federal Deposit Insurance Corporation; state
securities regulatory agencies or organizations; or regulatory authorities of a foreign government in connection with
their regulatory or enforcement responsibilities.
4. By SEC personnel for purposes of investigating possible violations of, or to conduct investigations authorized by,
the federal securities laws.
5. In any proceeding where the federal securities laws are in issue or in which the Commission, or past or present
members of its staff, is a party or otherwise involved in an official capacity.




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6. In connection with proceedings by the Commission pursuant to Rule 102(e) of its Rules of Practice, 17 CFR
201.102(e).
7. To a bar association, state accountancy board, or other federal, state, local, or foreign licensing or oversight
authority; or professional association or self-regulatory authority to the extent that it performs similar functions
(including the Public Company Accounting Oversight Board) for investigations or possible disciplinary action.
8. To a federal, state, local, tribal, foreign, or international agency, if necessary to obtain information relevant to the
SEC’s decision concerning the hiring or retention of an employee; the issuance of a security clearance; the letting of
a contract; or the issuance of a license, grant, or other benefit.
9. To a federal, state, local, tribal, foreign, or international agency in response to its request for information
concerning the hiring or retention of an employee; the issuance of a security clearance; the reporting of an
investigation of an employee; the letting of a contract; or the issuance of a license, grant, or other benefit by the
requesting agency, to the extent that the information is relevant and necessary to the requesting agency's decision on
the matter.
10. To produce summary descriptive statistics and analytical studies, as a data source for management information,
in support of the function for which the records are collected and maintained or for related personnel management
functions or manpower studies; may also be used to respond to general requests for statistical information (without
personal identification of individuals) under the Freedom of Information Act.
11. To any trustee, receiver, master, special counsel, or other individual or entity that is appointed by a court of
competent jurisdiction, or as a result of an agreement between the parties in connection with litigation or
administrative proceedings involving allegations of violations of the federal securities laws (as defined in section
3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)) or pursuant to the Commission’s Rules of
Practice, 17 CFR 201.100 – 900 or the Commission’s Rules of Fair Fund and Disgorgement Plans, 17 CFR
201.1100-1106, or otherwise, where such trustee, receiver, master, special counsel, or other individual or entity is
specifically designated to perform particular functions with respect to, or as a result of, the pending action or
proceeding or in connection with the administration and enforcement by the Commission of the federal securities laws
or the Commission’s Rules of Practice or the Rules of Fair Fund and Disgorgement Plans.
12. To any persons during the course of any inquiry, examination, or investigation conducted by the SEC’s staff, or in
connection with civil litigation, if the staff has reason to believe that the person to whom the record is disclosed may
have further information about the matters related therein, and those matters appeared to be relevant at the time to
the subject matter of the inquiry.
13. To interns, grantees, experts, contractors, and others who have been engaged by the Commission to assist in
the performance of a service related to this system of records and who need access to the records for the purpose of
assisting the Commission in the efficient administration of its programs, including by performing clerical,
stenographic, or data analysis functions, or by reproduction of records by electronic or other means. Recipients of
these records shall be required to comply with the requirements of the Privacy Act of 1974, as amended, 5 U.S.C.
552a.
14. In reports published by the Commission pursuant to authority granted in the federal securities laws (as such term
is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), which authority shall
include, but not be limited to, section 21(a) of the Securities Exchange Act of 1934, 15 U.S.C. 78u(a)).
15. To members of advisory committees that are created by the Commission or by Congress to render advice and
recommendations to the Commission or to Congress, to be used solely in connection with their official designated
functions.
16. To any person who is or has agreed to be subject to the Commission’s Rules of Conduct, 17 CFR 200.735-1 to
200.735-18, and who assists in the investigation by the Commission of possible violations of the federal securities
laws (as such term is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), in the
preparation or conduct of enforcement actions brought by the Commission for such violations, or otherwise in
connection with the Commission’s enforcement or regulatory functions under the federal securities laws.
17. To a Congressional office from the record of an individual in response to an inquiry from the Congressional office
made at the request of that individual.
18. To members of Congress, the press, and the public in response to inquiries relating to particular Registrants and
their activities, and other matters under the Commission’s jurisdiction.
19. To prepare and publish information relating to violations of the federal securities laws as provided in 15 U.S.C.
78c(a)(47)), as amended.
20. To respond to subpoenas in any litigation or other proceeding.
21. To a trustee in bankruptcy.



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22. To any governmental agency, governmental or private collection agent, consumer reporting agency or
commercial reporting agency, governmental or private employer of a debtor, or any other person, for collection,
including collection by administrative offset, federal salary offset, tax refund offset, or administrative wage
garnishment, of amounts owed as a result of Commission civil or administrative proceedings.

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Small Business Owners: The SEC always welcomes comments on how it can better assist small businesses. If you
would like more information, or have questions or comments about federal securities regulations as they affect small
businesses, please contact the Office of Small Business Policy, in the SEC’s Division of Corporation Finance, at 202-
551-3460. If you would prefer to comment to someone outside of the SEC, you can contact the Small Business
Regulatory Enforcement Ombudsman at http://www.sba.gov/ombudsman or toll free at 888-REG-FAIR. The
Ombudsman’s office receives comments from small businesses and annually evaluates federal agency enforcement
activities for their responsiveness to the special needs of small business.




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[FOR DOMESTIC U.S. RECORDS]

               DECLARATION OF [Insert Name] CERTIFYING RECORDS
                OF REGULARLY CONDUCTED BUSINESS ACTIVITY

I, the undersigned, [insert name], pursuant to 28 U.S.C. § 1746, declare that:

   1. I am employed by [insert name of company] as [insert position] and by reason of my
      position am authorized and qualified to make this declaration. [if possible supply
      additional information as to how person is qualified to make declaration, e.g., I am
      custodian of records, I am familiar with the company’s recordkeeping practices or
      systems, etc.]

   2. I further certify that the documents [attached hereto or submitted herewith] and stamped
      [insert bates range] are true copies of records that were:

       (a) made at or near the time of the occurrence of the matters set forth therein, by, or from
       information transmitted by, a person with knowledge of those matters;

       (b) kept in the course of regularly conducted business activity; and

       (c) made by the regularly conducted business activity as a regular practice.

I declare under penalty of perjury that the foregoing is true and correct. Executed on
[date].



                                       ____________________________
                                            [Name]
